 Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 1 of 116
                                                                         5072




 1                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
 2
 3    KURIAN DAVID, et al.,                               CIVIL ACTION
                Plaintiffs
 4
      versus                                              No. 08-1220
 5
 6    SIGNAL INTERNATIONAL, LLC., et al.,                 Section "E"
                Defendants
 7
 8    Related Case:
 9    EQUAL EMPLOYMENT OPPORTUNITY                        CIVIL ACTION
      COMMISSION,
10              Plaintiffs
11    versus                                              No. 12-557
12
      SIGNAL INTERNATIONAL, LLC, et al.,                  Section "E"
13              Defendants
14    Related Case:
15    LAKSHMANAN PONNAYAN ACHARI, et al.,                 CIVIL ACTION
                Plaintiffs
16
      versus                                              No. 13-6218
17                                                        (c/w 13-6219,
                                                           13-6220,13-6221
18                                                         14-1818)
      SIGNAL INTERNATIONAL, LLC, et al.,
19              Defenants                                 Section "E"
20    Applies to:
      David 08-1220
21
22                                   DAY 22
                                February 12, 2015
23
24                    TRANSCRIPT OF THE TRIAL PROCEEDINGS
                      BEFORE THE HONORABLE SUSIE MORGAN,
25                       UNITED STATES DISTRICT JUDGE,
                                  AND A JURY.


                              OFFICIAL TRANSCRIPT
 Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 2 of 116
                                                                        5073




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                              OFFICIAL TRANSCRIPT
 Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 3 of 116
                                                                        5074




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                              OFFICIAL TRANSCRIPT
 Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 4 of 116
                                                                         5075




 1                                     INDEX
 2
 3                                                              PAGE NO.
 4
 5
 6
 7    JURY CHARGE CONFERENCE...........................           5076
 8
 9
10
11    HEARING ON SANCTIONS ISSUE......................            5097
12
13
14
15    JURY VERDICT - STAGE 1...........................           5118
16
17
18
19    JURY DISMISSAL...................................           5184
20
21
22
23
24
25



                              OFFICIAL TRANSCRIPT
            Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 5 of 116
                                                                                    5076




            1                           P R O C E E D I N G S
            2                                         (Call to order of the court.)
            3                THE COURT:    Have a seat.
            4                All right.    The first thing I want to talk about is
12:08:24    5    the jury charges for Stage 2.
            6                We prepared a draft of the charges for Stage 2.
            7    But as you'll remember, we're going to have to tailor that to
            8    what the jury returns.      So there is some issues with it that
            9    we'll just have to resolve at that point.
12:08:50   10                And as I mentioned to you, what my plan is, at this
           11    point, I'm going to get the jury verdict form back on
           12    Stage 1.    I'm going to bring the jury in and we're going to
           13    read the verdict.     And y'all can keep -- make your notes
           14    about what the jury said on your copy of the jury verdict
12:09:09   15    form.
           16                Then I'm going to go into chambers and see if I can
           17    figure out if there are any claims on which the jury has
           18    awarded damages.     And if so, we're going to prepare Stage 2
           19    just for those.     So it is going to take some tweaking.         But
12:09:31   20    let me address the issues that you all have raised.
           21                I think the first e-mails we got were about
           22    damages -- you know, were the damages caused by the action.
           23                Well, I think we've covered that because in the --
           24    I believe in the Stage 1 jury verdict form, you remember we
12:09:54   25    added a final question about do you find that whatever was



                                          OFFICIAL TRANSCRIPT
            Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 6 of 116
                                                                                   5077




            1    done by any of the defendants caused the damage.          So that's
            2    where the causation comes in.
            3                And the reason we did that is we didn't want to ask
            4    causation in Stage 2 because what I'm going to tell them is,
12:10:17    5    if you got a damages section back on a particular claim
            6    against a particular defendant, it's because you answered
            7    those questions in a way that would allow you to award
            8    damages if you find any.
            9                So I didn't want to imply to them that just because
12:10:35   10    I gave it back to them -- well, I guess that's the
           11    implication.
           12                If I give them back a form for damages, they've
           13    answered the questions in a way that would support an award
           14    of damages.    So I had to ask the causation question first in
12:10:57   15    Stage 1.    So I think we've done the best we can on that.
           16                And then when I got the e-mails we had today about
           17    the RICO damages, I think I understand what your point is,
           18    but I'm not sure.
           19                So if anyone would like to put your objections to
12:11:21   20    either of these issues, or any others, and we'll have a
           21    discussion -- but let's take it an issue at a time.
           22                Let's talk about the causation issue.       Does anyone
           23    want to put anything on the record?
           24                MR. WEINBERGER:    Dan, is there anything you want to
12:11:37   25    say?



                                         OFFICIAL TRANSCRIPT
            Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 7 of 116
                                                                                   5078




            1                MR. WERNER:    With respect to the causation, we have
            2    no objections to the Court's language in that respect.
            3                MR. WEINBERGER:    As Your Honor knows, this is --
            4    has sort of been my issue.
12:11:47    5                And I actually brought with me an example of
            6    something that I did with the Court, Your Honor, in terms of
            7    red-lining things the Court had done that I think illustrates
            8    this issue in a way that does sort of underscore a difference
            9    of opinion about how best to do this.
12:12:10   10                And the way I want to approach that, if Your Honor
           11    please, is specifically with regard to the TVPA case and the
           12    jury interrogatories that have been formulated with regard
           13    thereto.
           14                Your Honor, if I may direct your --
12:12:26   15                THE COURT:    In Stage 2 or Stage 1?
           16                MR. WEINBERGER:    Stage 1, Your Honor.
           17                Is this limited to Stage 2?
           18                THE COURT:    Yeah, we're already past Stage 1.
           19                MR. WEINBERGER:    I'm sorry.      Then I misunderstood
12:12:37   20    you, Your Honor.
           21                THE COURT:    Is there something that -- if you
           22    briefly want to just say you object to the way we did the
           23    causation in Stage 1.
           24                MR. WEINBERGER:    I will say one thing and sit down.
12:12:45   25                THE COURT:    Okay.



                                          OFFICIAL TRANSCRIPT
            Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 8 of 116
                                                                                   5079




            1                 MR. WEINBERGER:    What I tried to do in red-lining
            2    the question, which was Question No. 4 in the instructions
            3    concerning the TVPA -- at least the document I'm looking at,
            4    it was Page 5, I think this is what I might have e-mailed --
12:13:02    5                 THE COURT:    Right.   And I thought you said it a
            6    different way, but basically we had the same concept, that we
            7    needed to put a causation question in Stage 1.
            8                 MR. WEINBERGER:    With one caveat.
            9                 What I tried to do very explicitly, because of
12:13:16   10    Rule 49, is capture the exact issue raised by Section 1595.
           11                 So what I did was I massaged that a little bit by
           12    saying, why not put the language in there, "is a victim of."
           13    That's an example of what we're talking about.
           14                 Thank you, Your Honor.
12:13:33   15                 THE COURT:    All right.   Thank you.
           16                 Now in Stage 2, Mr. Weinberger, do you have any --
           17                 MR. WEINBERGER:    Yes.    If I may sort of reverse the
           18    order of this, Your Honor, if Your Honor please.
           19                 Alan Weinberger on behalf of Signal.
12:13:48   20                 If I may reverse the order of this and stand for
           21    Mitchell for one second, Your Honor, may I ask whether -- I
           22    missed it.    I think Mitchell missed it, if it was there.
           23                 Is there a special interrogatory, a jury
           24    interrogatory, on the cross-claim in Stage 2 with regard to
12:14:07   25    indemnity?



                                           OFFICIAL TRANSCRIPT
            Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 9 of 116
                                                                                   5080




            1                If there is a question like that, I missed it.
            2                THE COURT:    You know, maybe it didn't get -- it's
            3    not on my printed version.
            4                                       (A pause in the proceedings.)
12:14:41    5                THE COURT:    All right.   I remember now.
            6                The only amount of damages, I believe, that you
            7    asked for was the amount of damages awarded against you in
            8    favor of the plaintiffs.      And the jury won't know that
            9    number.
12:14:55   10                MR. WEINBERGER:    Yes.
           11                THE COURT:    So I'm just assuming that that's
           12    something the Court will do and that -- because what would
           13    the question say?
           14                Because they've already -- if they answered all the
12:15:04   15    questions right in Stage 1, then at some point later I would
           16    enter that amount in a judgment, I guess, because the jury
           17    doesn't know what that amount is.
           18                MR. WEINBERGER:    We wondered whether that was the
           19    Court's reason and the Court has confirmed that it was.
12:15:19   20                THE COURT:    Okay.
           21                MR. WEINBERGER:    So thank you, Your Honor.
           22                Your Honor, if I may address the issue, then,
           23    jumping around a little bit, because I'm going to go through
           24    a lot of these interrogatories.
12:15:31   25                If I may first address the issue that Dan raised,



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 10 of 116
                                                                                   5081




            1    as you know, his award, if he receives one, will be trebled.
            2    And Dan, thankfully to his credit, has asked the Court to
            3    focus on the importance of having a very, very precise answer
            4    for this sort of punitive reason.
12:15:51    5                 So the question that is raised is concerning
            6    damages awarded specifically with regard to the RICO
            7    violation.    Dan raised the question.      To the best of my
            8    knowledge, I'm not sure that he proposed a specific sort of
            9    solution.
12:16:05   10                 THE COURT:    Well, let's get -- I'm not sure I
           11    understand the concern.       So if we're going to start with
           12    that, let's let him tell us what the concern is.
           13                 MR. WEINBERGER:    Thank you, Your Honor.
           14                 MR. WERNER:    Thank you, Your Honor.
12:16:25   15                 Daniel Werner for the plaintiffs.
           16                 Our only concern with the RICO is that because the
           17    RICO damages are automatically trebled, what gets trebled is
           18    not the damages that may be reduced by other damages that
           19    have been allotted to other claims, but it's what gets
12:16:51   20    trebled is the totality of the RICO damages.         So --
           21                 THE COURT:    Well, you said in your e-mail "because
           22    the RICO damages, not just the damages that are unique to the
           23    RICO claims."    I didn't understand what the difference was.
           24                 MR. WERNER:    Sure, sure.
12:17:09   25                 The -- and that may not have been phrased clearly.



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 11 of 116
                                                                                   5082




            1    In fact, it wasn't.
            2               The -- let's say using the example of the
            3    recruitment fees.
            4               If the recruitment fees are awarded, say, through
12:17:26    5    the Indian law fraud claims, and through RICO, and then there
            6    are additional RICO damages, the entirety of the RICO damages
            7    is what gets trebled, so would not be reduced by the amount
            8    of the recruitment fees that were awarded through India law.
            9               I don't know if that clarifies or confuses.
12:17:51   10               THE COURT:    Okay.   I thought that might be what
           11    you're talking about.
           12               This is my concern.     There -- the RICO damages,
           13    which are all the money paid during the recruiting process
           14    and the $35 a day deductions, those are also in Claims 1 and
12:18:18   15    2 and 5 and 6.
           16               MR. WERNER:    That's correct.
           17               THE COURT:    And so I guess I've been thinking the
           18    way that we were handling that was the instruction we added
           19    saying only put RICO damages.      And if we assume the jury
12:18:37   20    follows that, then whatever they put for RICO damages is what
           21    would be trebled.
           22               Now, that -- another way to address this -- well,
           23    you respond to that and then I'll tell you one idea I have.
           24               MR. WERNER:    I think it's a little bit different.
12:18:59   25               Our concern is that if it's phrased only the RICO



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 12 of 116
                                                                                     5083




            1    damages, and the way it is written in the instructions --
            2                THE COURT:    Under the RICO claim.
            3                MR. WERNER:    Under the RICO claim, in the event you
            4    award compensatory damages for this claim and also award
12:19:19    5    compensatory damages under a different claim such as, please
            6    indicate below only the compensatory damages you are awarding
            7    for the claims under the RICO.
            8                Then what the jury would put down would be had --
            9    Your Honor's example is good.      Let's assume they award
12:19:40   10    recruiting fees and the housing deductions for TVPA.
           11                What the jury would write down here would be quite
           12    possibly zero, because they had already awarded that under
           13    the TVPA.   And therefore, we would not know --
           14                THE COURT:    But we have that issue more than once.
12:20:02   15                The only idea I have is if we put the RICO first --
           16    we leave it as Claim 4, put a tab that said Claim 4, but put
           17    it in front.
           18                And then when I instruct the jury before they go in
           19    the jury room for Stage 2, I would say:        I'm instructing you
12:20:23   20    to answer these in the order that they are listed in this
           21    verdict form.    You'll note that I put Claim 4 first.        You
           22    know, if we had thought about this, we could have put it
           23    first in the beginning.
           24                But -- so they would answer RICO first and all we
12:20:43   25    can do is assume that this is the first time they have



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 13 of 116
                                                                                   5084




            1    awarded those damages, so they put them there.
            2               MR. WERNER:    And one thing I think -- I think that
            3    makes a lot of sense.
            4               I think then, because it's the first claim and they
12:20:55    5    won't have gone to any of the other claims yet, the paragraph
            6    that -- the second paragraph that could actually be removed
            7    then and all that the Court would need to ask on the first
            8    claim is, please enter the amount of damages under the RICO,
            9    because they won't have anything to compare it with yet.
12:21:18   10               THE COURT:    Okay.    All right.
           11               So, Mr. Weinberger?
           12               MR. WEINBERGER:     This is going to take a minute.
           13    This is really hard stuff.       There is a way --
           14               THE COURT:    You realize where we are, so.
12:21:38   15               MR. WEINBERGER:     Your Honor, but the point is --
           16    the point that I'm trying to make, I now have rethought the
           17    question that I wanted ask.
           18               Your Honor, I think I know what the solution is,
           19    but it is a complicated solution.
12:21:51   20               And it's -- it's the complication that has to be
           21    honored and observed and respected to comply with Rule 49.
           22               Your Honor, it strikes me that the solution is to
           23    make absolutely sure with the interrogatories that are used
           24    that the jury recognizes that the RICO damages that are being
12:22:13   25    awarded -- first of all, as for injury to property, Point 1.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 14 of 116
                                                                                   5085




            1               Point 2, what they must understand is that they are
            2    being asked to answer a question concerning damages caused by
            3    racketeering activity.
            4               Your Honor, what I want to emphasize now as
12:22:36    5    profoundly --
            6               THE COURT:    Wasn't the place to do that in the jury
            7    instructions --
            8               MR. WEINBERGER:     Well, it is there.
            9               THE COURT:    -- in phase -- in Stage 1?
12:22:44   10               MR. WEINBERGER:     It is there, but I respectfully
           11    submit to the Court -- Your Honor, the relevant law under
           12    Rule 49, according to one of the two leading treatises, the
           13    questions given to the juries should be clear and
           14    unambiguous.
12:23:15   15               THE COURT:    Okay.   I'm not --
           16               MR. WEINBERGER:     You don't need that.
           17               Then I'll get right to it.
           18               Your Honor, the surest way -- the surest way to
           19    make sure that Mr. Werner's concerns, which I share and the
12:23:29   20    Court shares, are being addressed, is to formulate a jury
           21    question to the jury at this time with regard to RICO that
           22    reminds them they are awarding damages for damage caused by
           23    racketeering activity.     Not the activity --
           24               THE COURT:    Well, what is it that you would say on
12:23:46   25    Claim Four, RICO compensatory damages?        What would you add?



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 15 of 116
                                                                                   5086




            1                MR. WEINBERGER:    Take the e-mail that I sent to
            2    Philip at 10:54.    Modify it a little bit.
            3                Please enter the amount of damages you award, if
            4    any, solely to compensate a plaintiff for injury to
12:24:12    5    plaintiff's property by reason of a RICO violation
            6    involving -- and then there's a lot of different things, it
            7    seems to me, the Court could do like involving racketeering
            8    activity or involving racketeering activity in association
            9    with one or more enterprises.
12:24:30   10                There are a variety of things the Court could do by
           11    populating that question with more information that is likely
           12    to focus the jury's attention on the very particular nature
           13    and specific nature of the inquiry in which they are
           14    involved.
12:24:43   15                THE COURT:    Okay.
           16                MR. WEINBERGER:    The problem -- the problem is that
           17    some of the predicate acts are the TVPA offenses.
           18                So what I'm asking the Court to do is to help the
           19    jury understand the difference between awarding damages for a
12:25:01   20    TVPA violation and a RICO violation.
           21                I think this is what Rule 49 wants.       Rule 49 seeks
           22    clarity.
           23                THE COURT:    Is there different language that you
           24    want to some other instruction in Stage 2?
12:25:19   25                MR. WEINBERGER:    Yes, Your Honor, I have a variety



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 16 of 116
                                                                                   5087




            1    of questions or suggestions.
            2                 Actually, Rule 49 tells me -- and you'll forgive me
            3    for using this word.       I would never use this word ordinarily,
            4    but the Rule 49 word is demand.
12:25:32    5                 THE COURT:    Please don't tell me any more about
            6    Rule 49.   Just go straight --
            7                 MR. WEINBERGER:    All right, Your Honor.
            8                 THE COURT:    The jury could come back anytime and I
            9    need to get this ready.
12:25:40   10                 MR. WEINBERGER:    Yes, Your Honor.
           11                 Turning to Claim One, first question --
           12                 THE COURT:    Do you have pages?
           13                 MR. WEINBERGER:    I do.    Page 4, Your Honor.
           14                 THE COURT:    Okay.
12:25:49   15                 MR. WEINBERGER:    Before the word --
           16                 THE COURT:    I'm listening.
           17                 MR. WEINBERGER:    Before the word "violation," I ask
           18    that you insert the word "knowing."         Knowing violation.
           19                 THE COURT:    This is under "compensatory"?
12:26:02   20                 MR. WEINBERGER:    It is.    Knowing violation.
           21                 THE COURT:    For Signal's knowing violation?
           22                 MR. WEINBERGER:    Correct.    It would be knowing
           23    violation.
           24                 THE COURT:    Okay.
12:26:13   25                 MR. WEINBERGER:    With regard to punitive damages, I



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 17 of 116
                                                                                   5088




            1    ask that with regard to Question 1, where it says "currently
            2    when it."
            3                THE COURT:    That acted with malice or reckless
            4    indifference when it -- what do you want to add?
12:26:32    5                MR. WEINBERGER:    Knowingly subjected.     Just put the
            6    word "knowingly."
            7                THE COURT:    That Signal knowingly acted with
            8    malice?
            9                MR. WEINBERGER:    Correct.   Correct.    Since that is
12:26:40   10    the standard as a matter of law.
           11                THE COURT:    Okay.
           12                MR. WEINBERGER:    Same thing with regard to
           13    Question 2 on Page 5, knowingly.
           14                THE COURT:    So on all the --
12:26:49   15                MR. WEINBERGER:    Basically.
           16                THE COURT:    -- claim lines, you want to add
           17    "knowingly."
           18                MR. WEINBERGER:    Yes.   Because of the scienter
           19    element, Your Honor.
12:26:57   20                Turn to Page 14, this is the 1981 charge.
           21                THE COURT:    Okay.
           22                MR. WEINBERGER:    I ask that you insert the word
           23    "purposefully" before the word "discriminatory" in
           24    Question A -- or the first question.        The top of Page 14,
12:27:33   25    Your Honor.    Purposefully discriminatory.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 18 of 116
                                                                                   5089




            1               THE COURT:    For Signal's purposefully
            2    discriminatory?
            3               MR. WEINBERGER:     Exactly, Your Honor.
            4               THE COURT:    And I assume you would want that
12:27:43    5    repeated throughout that claim, too?
            6               MR. WEINBERGER:     Yes.   Or a similar thing.     And I'm
            7    going to get to that in a minute.
            8               Your Honor, just actually, I made a note to myself
            9    to tie this in to the special verdict, the special
12:27:56   10    interrogatory that I asked for yesterday.
           11               THE COURT:    On punitives on Page 14, would you want
           12    it to be that Signal --
           13               MR. WEINBERGER:     This is --
           14               THE COURT:    -- knowingly acted?
12:28:09   15               MR. WEINBERGER:     I have a very different suggestion
           16    there.
           17               THE COURT:    Okay.
           18               MR. WEINBERGER:     Your Honor, if we go down to B,
           19    the way you start that interrogatory is, "do you find from a
12:28:20   20    preponderance of the evidence that."
           21               If we can go to the that, I would like the Court to
           22    insert, please, the following words, "With regard to terms
           23    and conditions of employment, Signal engaged in
           24    discriminatory practices with malice or with reckless
12:28:45   25    indifference --"



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 19 of 116
                                                                                    5090




            1               THE COURT:    Wait.
            2               Okay.
            3               MR. WEINBERGER:     "-- to the federally-protected
            4    rights of any of the following plaintiffs."
12:29:00    5               That is the 1981(a) standard, Your Honor, verbatim.
            6    And therefore, that's a good question to ask.
            7               THE COURT:    Okay.
            8               MR. WEINBERGER:     Now, Your Honor, turning to
            9    Page 15.
12:29:13   10               Your Honor, if you could look at Page 15 and
           11    Page 19 together, I have essentially the same request with
           12    regard to both of those questions.
           13               THE COURT:    Okay.
           14               MR. WEINBERGER:     Bear with me for one second,
12:29:42   15    Your Honor.
           16               THE COURT:    So you want me to put the same thing on
           17    15 that you ask for on 19?
           18               MR. WEINBERGER:     Yes.   What I'm -- yes.
           19               Your Honor, what I'm -- I'm sorry, Your Honor.
12:30:05   20    I've confused myself.
           21               THE COURT:    I guess it would be a little different
           22    because that's racketeering and this is something else.           It's
           23    the same conduct.
           24               MR. WEINBERGER:     That's a RICO thing.     I didn't
12:30:20   25    mean to do that, Your Honor.      What I'm trying to get at with



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 20 of 116
                                                                                   5091




            1    regard to -- 11.14.
            2               Right.
            3               Your Honor, Page 17, the question concerning
            4    damages, the Fifth Circuit suggests that this language be
12:30:47    5    used in a discrimination case, Your Honor, compensatory --
            6    no.   Punitive damages, excuse me, Your Honor.
            7               This comes straight from Page 218 of the 2014
            8    Fifth Circuit pattern jury instruction questions.
            9               What sum of money -- I'm requesting that you do
12:31:10   10    this instead of what you're doing now.
           11               What sum of money should be assessed against Signal
           12    with respect to any of these plaintiffs as punitive damages
           13    for racially-motivated harassing living conditions.
           14               And what I meant to do was to suggest, if
12:31:53   15    Your Honor please, when you get to punitive damages to
           16    retaliation with regard to Mr. Joseph, that is a model you
           17    may want to use, that kind of language.
           18               THE COURT:    Okay.
           19               MR. WEINBERGER:     And it's also, Your Honor,
12:32:20   20    something that you could do on Page 15 for punitive damages
           21    with regard to the man camp.
           22               Remember, Your Honor, that you have two 1981
           23    theories in this case.     One is hostile work environment.       One
           24    is the man camp.    One is terms and conditions.       One is
12:32:45   25    hostile work.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 21 of 116
                                                                                   5092




            1                 They seek punitive damages with regard to both of
            2    those theories of recovery, so the same thing would make
            3    sense.
            4                 We've covered RICO -- I believe we've covered RICO.
12:32:57    5                 THE COURT:    Yes.
            6                 MR. WEINBERGER:      So going next, Your Honor, to
            7    fraud.
            8                 Now, Your Honor, as I did with regard to the
            9    instructions, I'm asking the Court to separate these
12:33:07   10    questions so that questions are asked about very basic fact
           11    questions.
           12                 One:   Do you want to award damages under this
           13    Indian law for fraud practiced on you directly by Signal.
           14    Not through an agent, but directly.
12:33:40   15                 There should then be a second question, which does
           16    not appear here, and is going to have to be added as a
           17    manuscript thing.
           18                 The question would read:     Please enter -- and you
           19    would use the language you have here there -- and then this
12:33:59   20    is where you would go in a different direction.         "-- for the
           21    fraudulent conduct of a defendant, if any, you have found
           22    engaged in fraud, causing damage to the plaintiff, with
           23    Signal's apparent authority."
           24                 And that separates the two fundamental issues here
12:34:23   25    perfectly.    Without it, there is a problem.      And there is a



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 22 of 116
                                                                                    5093




            1    problem because there's not the kind of clarity there should
            2    be.
            3               Then you would do the very same thing with regard
            4    to the negligence.     The very same thing.
12:34:41    5               Was it negligence practiced on these people
            6    directly by Signal?     Or is it something that allegedly
            7    occurred through an agent?
            8               Two questions tied to the damage issue.
            9               My last issue, Your Honor, Page 34.        Claim Seven.
12:34:57   10               Your Honor, the Rule 49 authorities say, as a rule,
           11    disjunctive ors should not be used in jury interrogatories.
           12               This should be separated.      And, once, again, there
           13    should be appropriate questions to focus the attention of the
           14    jury on the question of whether they are awarding damage for
12:35:26   15    the behavior of Signal directly or the behavior of an alleged
           16    agent of Signal.
           17               Thank you, Your Honor.
           18               MR. CERNIGLIA:     I just have a comment.
           19               Under the RICO claims, compensatory damages.           And
12:35:46   20    I'm on Page 20 of what should be as applies to Burnett that
           21    would apply to everyone.
           22               I agree that it would probably make sense to move
           23    this forward so it is the first question asked.
           24               THE COURT:    Say it again.
12:36:02   25               MR. CERNIGLIA:     It would be appropriate to move the



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 23 of 116
                                                                                   5094




            1    RICO questions of damages forward to make it be the first
            2    set.   And I agree with Dan that then the second paragraph is
            3    not necessary.
            4               But I would like to have -- and this is in line a
12:36:18    5    little bit with Mr. Weinberger's comments -- that please --
            6    for the question to read along the lines of, please enter the
            7    amount of -- and here is, I think -- I don't have the
            8    original instructions, but I think you said pecuniary or some
            9    such thing in the original instructions.        But to insert that
12:36:41   10    word and put a parenthesis:      See instruction tab whatever, so
           11    they know what they're doing.      And I think that would solve
           12    the problem that they're not putting in emotional distress
           13    and the like.
           14               And then I would prefer it to read that -- to say:
12:37:01   15    Please enter the amount of blank damages, see tab whatever,
           16    that were caused by Burnett's RICO violations.         And it would
           17    be the same for every defendant.
           18               And the only other concern that I have -- and I
           19    guess it came to me after I got a good night's sleep and
12:37:22   20    maybe too late to do anything about it, but it seems like
           21    from what the original instructions were given, that there is
           22    a high potential for double recovery by listing both allowing
           23    to recover all the recruitment and attorneys' fees and all
           24    the money borrowed to pay those attorneys and recruitment
12:37:42   25    fees and that's the same money.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 24 of 116
                                                                                   5095




            1                 THE COURT:    We're way passed that.
            2                 MR. CERNIGLIA:    I know, but I don't think what to
            3    do about it, but that would be double damages.
            4                 THE COURT:    There is nothing I can do about it at
12:37:55    5    this point, so.
            6                 MR. CERNIGLIA:    Maybe nothing can be done about it
            7    at this point in time, but something may need to be done
            8    about it all the same.       I just bring it to the Court's
            9    attention.
12:38:05   10                 THE COURT:    All right.   Mr. Shapiro.
           11                 MR. SHAPIRO:    Thank you, Your Honor.
           12                 To the extent -- I'm assuming that the language
           13    about knowingly will not just be in the instruction.
           14                 THE COURT:    If we put it anywhere, we put it
12:38:22   15    everywhere.
           16                 MR. SHAPIRO:    Right, uniformly.   I just wanted to
           17    make sure that was correct.
           18                 The only thing I really have is this -- the
           19    reference to this -- this "otherwise known as Medtech."           It
12:38:39   20    was my understanding that that was going to be removed.           I
           21    don't know that there has been any --
           22                 THE COURT:    Where?
           23                 MR. SHAPIRO:    It will be everywhere where
           24    Dewan Consultants -- questions are asked about
12:38:57   25    Dewan Consultants in the --



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 25 of 116
                                                                                     5096




            1                 THE COURT:    Is that in the Phase 1 -- Stage 1 jury
            2    verdict form?    I believe it is, so --
            3                 MR. SHAPIRO:    Oh, it is.
            4                 THE COURT:    So you didn't resolve that before --
12:39:17    5    it's too late to raise it now.
            6                 MR. SHAPIRO:    Okay.   Understood.   Thank you,
            7    Your Honor.
            8                 THE COURT:    Okay.    All right.
            9                 Does anybody want to respond to any of the comments
12:39:26   10    made by other counsel?
           11                 MR. WERNER:    Briefly, Your Honor.     Just -- I'll
           12    just kind of make a general comment.
           13                 What Signal's counsel is really proposing for the
           14    Phase 2 jury instruction is kind of getting a second bite at
12:39:45   15    the apple.    Much of what they suggested be inserted is
           16    already in the ---jury verdict form, is already in the
           17    Stage 1 jury verdict form.
           18                 It doesn't need to be included here.      It's asking
           19    the jury then to -- for example, think again about knowingly,
12:40:01   20    even though they already decided knowingly.         And that is -- I
           21    don't need to go through each addition that counsel proposed.
           22    That is just our general concern.
           23                 THE COURT:    Right.    Okay.   I understand that.
           24                 MR. WERNER:    Thank you.
12:40:16   25                 THE COURT:    All right.



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 26 of 116
                                                                                   5097




            1                The second reason we're here today is I wanted to
            2    give Ms. Hangartner a chance to address some of the concerns
            3    I have.   And I'll tell you up front, I'm going to bring up
            4    three issues.
12:40:32    5                The first two areas we're going to have in open
            6    court.    The third area of concern I'm going to seal the
            7    courtroom because the testimony -- the matters that we'll be
            8    talking about are matters that are subject to protective
            9    orders and confidentiality orders.
12:40:49   10                So we're going to take the issues one at a time.
           11    When we get to the third one, we're going to seal the
           12    courtroom and anyone who is counsel or a party can stay in,
           13    but anyone else will have to leave.
           14                So let me make some remarks.
12:41:03   15                Ms. Hangartner, you can sit down for a minute.
           16                MS. HANGARTNER:    I'm sorry.
           17                THE COURT:    A district court has inherent power to
           18    sanction conduct if it is in direct defiance of the
           19    sanctioning court or constitutes disobedience to the orders
12:41:18   20    of the judiciary.     The threshold for exercising that power,
           21    however, is high.
           22                As a preliminary matter, the Court may not impose
           23    sanctions without fair notice and an opportunity for a
           24    hearing on the record.
12:41:31   25                Following that hearing, the sanctioning court must



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 27 of 116
                                                                                   5098




            1    make a specific finding that the party acted in bad faith.
            2                And finally, when considering the appropriate
            3    sanction, the Court must make sure the sanction is narrowly
            4    tailored and proportionate to the degree of misconduct.
12:41:48    5                So I'm not planning to rule on the record today.
            6    Instead, what I want to do is give Ms. Hangartner and anyone
            7    else of other counsel who want to comment -- a chance to
            8    comment on the issues that were of concern to me.
            9                So the first thing I want to talk about is on
12:42:10   10    Page 72 of the transcript for February 10, 2015, and this
           11    was, you know, during closing argument, obviously.
           12                Ms. Hangartner said that the Department of Labor
           13    came to Signal and inspected.      They looked at all of Signal's
           14    books to figure out how it was paying its direct labor.           How
12:42:37   15    it was paying its contract labor.       How it was paying its H-2B
           16    workers.
           17                Then she said the DOL wanted to see the housing
           18    facility.   The man camp.     And the DOL said:    You are good.
           19    Everything is in order.     We talked to some of the workers.
12:42:54   20    Everything seems fine.
           21                So I looked back at the testimony and I did see
           22    that during the direct examination of Ron Schnoor by Signal,
           23    the Signal attorney did ask Mr. Schnoor about the DOL
           24    investigation and I -- and there is an objection by
12:43:18   25    Mr. Howard and I overruled the objection.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 28 of 116
                                                                                        5099




            1                 But in hindsight, I probably shouldn't have.          I
            2    didn't realize where counsel was going.         I thought they were
            3    talking about the investigation about payment, hours, and
            4    payroll records.     And instead, Mr. Schnoor did say some
12:43:40    5    things about DOL looking at the man camp and talking to the
            6    workers.
            7                 So, you know, that was -- that was during the
            8    trial.     I believe that was -- maybe that was February 2nd.
            9    I'm not sure.    I think that's the date that was.
12:43:58   10                 Then my recollection is the issue came up later
           11    during the trial.     I can't remember whose testimony it was.
           12    Mr. Ungar -- I talked to Mr. Ungar and Mr. Howard about it.
           13                 Mr. Ungar wanted to use some exhibits and I said,
           14    well, if you use those exhibits, then that's going to open
12:44:20   15    the door for the plaintiffs to talk about the EEOC suit,
           16    investigation and suit.
           17                 Mr. Ungar, do you remember whose testimony was
           18    that?
           19                 MR. UNGAR:    Thank you, Your Honor.    Hal Ungar for
12:44:35   20    Signal.
           21                 I think I was talking about an exhibit we wanted to
           22    use with Mr. Marler and I believe that that was a Department
           23    of Justice letter.
           24                 THE COURT:    That's correct.
12:44:44   25                 MR. UNGAR:    A Department of Justice letter.        And we



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 29 of 116
                                                                                   5100




            1    wanted to use it.     And Your Honor, the response from
            2    plaintiffs' counsel was:      If you use it, then we're going to
            3    go into the EEOC thing in response to the DOJ letter.
            4               And then you asked if we wanted to consider again
12:45:01    5    whether we wanted to use the DOJ letter and we withdrew our
            6    request to do that.     That's my understanding.
            7               THE COURT:    And my recollection is there was a
            8    broader discussion of if there were -- if you were going to
            9    go into any government investigations, then the plaintiffs
12:45:15   10    would be able to use the EEOC investigation -- but just a
           11    minute, Ms. Hangartner, you are going to get a chance.
           12               MR. UNGAR:    That's not my recollection.      But I do
           13    specifically remember discussion about DOJ.
           14               THE COURT:    Right.   And now that you mention it, I
12:45:31   15    remember the DOJ letter.      And I can go back and look at the
           16    record about the bench conference.
           17               But Mr. Howard, do you recall that?
           18               MR. UNGAR:    Thank you, Your Honor.
           19               THE COURT:    Thank you.
12:45:40   20               MR. HOWARD:    My recollection is consistent with the
           21    issue arose subsequent to Mr. Schnoor's testimony and it was
           22    over the question of whether Signal would use the DOJ letter.
           23    And my reaction was that I should be expressly permitted to
           24    use the EEOC charge if they open that door.
12:45:57   25               That said, I think I also mentioned that, you know,



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 30 of 116
                                                                                   5101




            1    there is no motion in limine about the EEOC charge.         There
            2    has been no prohibition against using it, but I, in my
            3    conservative nature, thought that it would be potentially
            4    inappropriate to just bring it up on my own.
12:46:18    5               But I think also in that discussion I mentioned
            6    that I was alarmed by the testimony that was elicited with
            7    respect to the Department of Labor, and that that could, even
            8    in and of itself, have given me the opportunity to talk about
            9    the EEOC, because to the extent they were suggesting the
12:46:36   10    Department of Labor had somehow given the clean bill of
           11    health on the man camp and discrimination issues, the EEOC
           12    charge directly rebuts that.
           13               But the way the issue finally got resolved was in
           14    the context of the question of the DOJ letter.         And the Court
12:46:52   15    and plaintiffs gave Signal the opportunity to decide whether
           16    they wanted to use the DOJ letter.       They chose not to use the
           17    letter.   And I opted not to go into the EEOC charge.
           18               THE COURT:    Okay.   All right.
           19               So my -- well, you know, I guess the way I saw it
12:47:10   20    at the time was that there was an agreement reached between
           21    the parties not to go into these governmental investigations
           22    and that's why the plaintiffs did not bring up the EEOC and
           23    Mr. Ungar did not use his DOJ exhibit.
           24               And the parties abided by that agreement.         After
12:47:30   25    that, I don't believe there was any further testimony about



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 31 of 116
                                                                                   5102




            1    any governmental investigations from either side.
            2               So I was surprised when Ms. Hangartner mentioned
            3    the DOL investigation during closing.
            4               Now, I did, in an attempt to cure the problem, I
12:47:55    5    allowed Mr. Howard to reference that the EEOC had sued Signal
            6    in its closing.
            7               So Ms. Hangartner, now can you please respond to
            8    that?
            9               MS. HANGARTNER:     Yes, Your Honor.    Thank you.
12:48:11   10               Actually, I think there is some confusion,
           11    Your Honor.
           12               THE COURT:    Come to the podium.
           13               MS. HANGARTNER:     The letter from the Department of
           14    Justice is what kind of triggered all of this.
12:48:23   15               The Department of Justice -- and I think it was the
           16    counsel of Immigration Affairs or Immigrant Affairs, came out
           17    to Signal, conducted an investigation, and then cut a letter
           18    to Signal saying that they found no just cause to move
           19    forward with the investigation.
12:48:37   20               And it had been Signal's position that based on the
           21    fact that DOJ had come out, conducted a thorough
           22    investigation and found no cause to move forward, then that
           23    should have negated the EEOC finding.
           24               In other words, because they were both looking at
12:48:55   25    immigrant rights and discrimination particular to immigrant



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 32 of 116
                                                                                     5103




            1    rights.
            2               The Department of Labor is completely different.
            3    The Department of Labor came out, Wage and Hour, and what I
            4    specifically said in my closing argument tracks exactly what
12:49:10    5    Mr. Schnoor said during his direct testimony, as well as his
            6    cross with Alan Howard.
            7               And I think the pivotal part is the DOL
            8    investigation was part and parcel and intertwined into the
            9    fabric of Signal's decision regarding the March 9th
12:49:30   10    terminations, because they told Mr. Schnoor that they did not
           11    see an issue with the way that Signal's direct employees were
           12    paid, nor the H-2B workers, nor their contract labor.
           13               THE COURT:    But, you know, if you had stuck with
           14    just how they were paid, we would not be having this
12:49:46   15    discussion.
           16               It was that you went into the housing facility and
           17    the man camp and how they said we talked to the workers,
           18    everything is in order, which made it sound like you were
           19    talking about the immigration rights issues.
12:50:02   20               MS. HANGARTNER:     But I was not, Your Honor.         I was
           21    tracking exactly what Mr. Schnoor said.
           22               THE COURT:    And I guess my point is that that was
           23    said.   I looked back at the testimony.       I did allow
           24    Ms. Bollman to go into that.      Probably should not have.        I
12:50:17   25    didn't know she was going there.       And it was over



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 33 of 116
                                                                                   5104




            1    Mr. Howard's objection.     But then I thought the parties had
            2    an agreement after that not to bring up governmental
            3    investigations.
            4               I have not looked back at the exact language.          I
12:50:31    5    believe it was in a bench conference, but I will to see if my
            6    recollection is correct.
            7               But are you saying your understanding was not the
            8    same as mine?
            9               MS. HANGARTNER:     My understanding was based on --
12:50:43   10    and I think -- because the day that I came back was the day
           11    that I took Dick Marler.
           12               So Mr. Ungar had that initial conversation
           13    regarding the DOJ letter.      And then what I recall is prior to
           14    Mr. Marler testifying, having the conversation with the
12:50:57   15    Court -- I believe it was sidebar -- and asking, I understand
           16    that the DOJ letter is out and that -- and I asked you, can I
           17    ask about the Indian consulate coming to visit.         And you
           18    said, no, you're not getting into all of that.
           19               THE COURT:    Right.
12:51:13   20               MS. HANGARTNER:     So I separated the two in my mind,
           21    DOJ and Indian consulate and DOL that Mr. Schnoor testified
           22    to, again factoring into March 9th.
           23               THE COURT:    Okay.    I understand your -- what you
           24    are saying.
12:51:30   25               Mr. Howard.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 34 of 116
                                                                                     5105




            1                MR. HOWARD:   Your Honor, if I may just direct the
            2    Court's attention to the transcript.       I'm not sure of the
            3    day, but it is -- Page 3993.
            4                There was some -- out of the presence of the jury,
12:51:44    5    Ms. Hangartner asked, because it was before Mr. Marler's
            6    testimony, she says (as read:)      I understand while I was out,
            7    there was a ruling by the Court that any mention of the
            8    Department of Labor, Department of Justice, or any of those
            9    federal agencies would then open the door for plaintiffs to
12:52:01   10    bring in the EEOC suit.
           11                And my question is -- and the Court says:        Wait,
           12    wait, stop.    Do you have the page of the transcript where it
           13    says?
           14                Ms. Hangartner:    I don't.    I was only told by my
12:52:14   15    team.
           16                It goes on, so -- and she says (as read:)        So I
           17    guess the question is --
           18                By Ms. Hangartner on Page 3994:
           19                -- is it just the Department of Justice?       Because
12:52:22   20    when the Department of Labor came out, there was no letter
           21    from the Department of Labor.
           22                The Court's response was:      If you -- any federal
           23    agencies.     If you get into their investigations, then the
           24    plaintiffs are going to be able to go into the EEOC.
12:52:36   25                And Ms. Hangartner said:      Okay.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 35 of 116
                                                                                    5106




            1               So, I mean, that's directly on point.
            2               THE COURT:    That's what I remembered.
            3               And then I thought the parties abided by that
            4    agreement the rest of the trial.
12:52:48    5               MS. HANGARTNER:      May I?
            6               THE COURT:    Yes.
            7               MS. HANGARTNER:      I guess I'm a little confused.
            8               It's -- I understood about the Department of
            9    Justice and Indian Affairs and all of that, but I don't
12:53:01   10    understand how Mr. Howard, in his closing remarks, and the
           11    evidence, the e-mail, 940 -- Exhibit 940 that was
           12    continuously shown, talks about "like the DOL folks learned
           13    were almost perfect."
           14               I did not violate what I believed was a direct
12:53:20   15    order of the Court.
           16               I knew that the DOJ letter was out.        I knew the
           17    Indian Affairs was out -- Council of Indian Affairs was out.
           18               But I believe -- and I still believe -- that I have
           19    the right and the duty to discuss that DOL investigation when
12:53:39   20    Mr. Howard has made an issue of this e-mail with numerous
           21    witnesses and showed it in his closing argument.
           22               THE COURT:    And the e-mail you are talking about is
           23    Exhibit 940?
           24               MS. HANGARTNER:      Exhibit 940, Your Honor.
12:53:53   25               THE COURT:    What's that got to do with the DOJ



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 36 of 116
                                                                                   5107




            1    letter?    I don't have it in front of me.
            2                MS. HANGARTNER:    I'm sorry, DOL, not DOJ.      We're
            3    talking about DOL.
            4                THE COURT:    Okay.
12:54:00    5                MS. HANGARTNER:    It's an e-mail to Tracey Binion
            6    from Ron Schnoor.     And it says, "like the DOL folks learned
            7    were almost perfect."
            8                And he put that up there on a slide.
            9                THE COURT:    But that wasn't anything bad, you know,
12:54:13   10    that he put.    He's talking about -- that's what your point
           11    is, DOL said you are almost perfect, so --
           12                MS. HANGARTNER:    Correct.
           13                THE COURT:    It wasn't like he needed to cure that.
           14                MS. HANGARTNER:    He was painting it in a very
12:54:29   15    negative light to the jury.
           16                THE COURT:    Okay.   I understand that one.
           17                So have a seat and let me talk about the next one.
           18                MS. HANGARTNER:    Thank you, Judge.
           19                THE COURT:    Thank you.
12:54:35   20                The second issue, on Page 98 (4924)of the
           21    transcript in closing argument Ms. Hangartner made the
           22    statement (as read:)      Sabulal Vijayan, he testified to you.
           23    Mr. Marler made the comment that it was a suicide gesture.
           24                His medical records show that it was a suicide
12:54:53   25    gesture.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 37 of 116
                                                                                    5108




            1               And I had previously ruled, when Signal asked to
            2    supplement its exhibit list with one page of medical records
            3    for Mr. Sabulal, my recollection is that that one page was
            4    not listed in the exhibits in the pretrial order and that I
12:55:13    5    said that Signal could not use that one page.
            6               And I said, you know, no subpoena had been issued
            7    to the medical services provider; the page wasn't a certified
            8    record; the doctor hadn't been deposed; and, you know, it
            9    wasn't listed on the exhibit list.
12:55:30   10               So I said that the exhibit could not be used.           And
           11    I believe it was clear to me and all counsel that no
           12    witnesses were to be questioned about the statement made in
           13    the uncertified medical records, because there was nobody --
           14    the doctor wasn't here, the nurse wasn't here.         Nobody was
12:55:50   15    here to testify about that.
           16               So I wasn't expecting to hear any testimony about
           17    that one page of medical records.       And I was correct, no
           18    party was questioned about that medical record.         There --
           19    nobody said anything about, you know, the doctor saying he
12:56:07   20    thought it was a suicide gesture.
           21               So I thought, you know, that was not a problem.          We
           22    had made it through the trial without a problem about that
           23    exhibit.
           24               And so, you know, closing argument is supposed to
12:56:24   25    be a summary of the evidence, not creating new evidence.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 38 of 116
                                                                                   5109




            1               So I was surprised and concerned when
            2    Ms. Hangartner said, in her closing arguments, his medical
            3    records show that it was a suicide gesture.
            4               So I wanted to give you a chance to respond.
12:56:41    5               MS. HANGARTNER:     Thank you, Your Honor.
            6               I think what this stems from is in Mr. Marler's
            7    testimony, Mr. Howard crossed him (as read:)        Are you going
            8    to tell this jury, too, who have heard from Mr. Sabulal --
            9    who saw him in this courtroom and heard his testimony -- that
12:56:56   10    his suicide attempt was theatrics and a bunch of nonsense?
           11               Dick Marler's response was (as read:)        I don't know
           12    what this Court has allowed to be said about his evaluation
           13    in the hospital.     I do not know whether or not it's been
           14    discussed that he cut himself with a safety razor in a
12:57:11   15    nonvital portion of his wrist.      I don't know what this Court
           16    has allowed.
           17               And in my close I said (as read:)       Sabulal Vijayan,
           18    he testified to you.     Mr. Marler made the comment that it was
           19    a suicide gesture.     His medical records show that it was a
12:57:25   20    suicide gesture.
           21               That comment by me was inappropriate.        It was
           22    inadvertent.    It was a mistake.     After 21 long days, it came
           23    out of my mouth, and I certainly did not mean to defy a court
           24    order but I have to accept responsibility for that.
12:57:46   25               THE COURT:    All right.    I appreciate that.     Thank



                                         OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 39 of 116
                                                                        5110




 1    you.
 2               MS. HANGARTNER:     Thank you, Your Honor.
 3               THE COURT:    All right.    Now we are going to close
 4    the courtroom, and I would ask that anyone who is not a party
 5    or an attorney in the case to leave.
 6               MR. HOWARD:    Your Honor, for clarification, can our
 7    paralegal staff stay?
 8               THE COURT:    No, they can stay.
 9               And, Mr. Kolby (phonetic), you're counsel in one of
10    the other cases where this information is known.
11               Does anyone have any objection to the Signal
12    employees being in the courtroom?
13               MR. HOWARD:    None, Your Honor.
14               MR. SHAPIRO:    No, Your Honor.
15               MR. CERNIGLIA:     No, Your Honor.
16               THE COURT:    All right.    So this is my third and my
17    most serious area of concern.
18               On Page 106 (4932) during closing argument,
19    Ms. Hangartner referred to Exhibit 1013 [sic], and quoted the
20    exhibit as saying in the third full paragraph on the fourth
21    page of the exhibit -- and this is the quote (as read:)           If
22    the workers -- and this is her quote from the e-mail.
23               (As read:)    If the workers will file a formal
24    complaint, they will be issued a work permit by the
25    government that will allow them to work wherever they want in



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 40 of 116
                                                                        5111




 1    the United States for up to three years while this lawsuit
 2    makes its way through the courts, period.
 3                And that's the end of -- wait, the
 4    quote continues -- that's the end of the quote from the
 5    e-mail.
 6                Then she said (as read:)     Sometimes lawsuits take a
 7    little longer than three years, but they are still here, end
 8    quote.
 9                So Exhibit 1013 was admitted into evidence, and
10    various witnesses testified with respect to certain
11    paragraphs in the e-mail.      The witnesses who testified, to my
12    knowledge and recollection, are Mr. Jacob on direct and
13    Mr. Bingle, Mr. Schnoor, and Mr. Snyder on cross.         But none
14    of them testified with respect to the bullet point language
15    quoted by Ms. Hangartner.      And to my recollection no
16    witnesses testified about that paragraph.        And certainly no
17    witnesses testified about the current immigration status or
18    where the plaintiffs resided.
19                And I know that Ms. Hangartner is aware of the
20    protective orders and other orders that I have signed and
21    Judge Knowles has signed regarding this issue.
22                And if you want a history of it and a reference to
23    all of them, you can look at the -- Signal's Petition for a
24    Writ of Mandamus to the Fifth Circuit filed on December 19,
25    2014.    That gives you a complete -- it looks like to me a



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 41 of 116
                                                                            5112




 1    pretty complete history of that -- the rulings with respect
 2    to that issue.    And there have been many.
 3               There have also been many conversations about that
 4    issue before the trial and then during the trial.
 5               And you'll remember we had some -- there were some
 6    witnesses who we were concerned that the testimony was going
 7    to get close, and -- but we needed -- they had to testify
 8    because it was with respect to the cross-claims.         And I
 9    specifically asked you all to talk about it, try to work it
10    out, make sure that it wouldn't be an issue.        And you did
11    that.
12               And so I -- I also breathed a sigh of relief when
13    the testimony was over and we had avoided this issue.             I
14    think we were successful in preventing any testimony of that
15    nature from being presented during the trial.
16               And then during closing, Ms. Hangartner referenced
17    the e-mail and its suggestion that the plaintiffs file a
18    lawsuit so that they could stay in the U.S.
19               And followed that up with her closing sentence:
20    They are still here.
21               And this appeared to me to be directly contrary to
22    my orders on the topic, and especially troubling because of
23    the nature of the testimony and the reasons that I had issued
24    those orders.
25               So, Ms. Hangartner, would you like to respond?



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 42 of 116
                                                                        5113




 1               MS. HANGARTNER:     Thank you, Your Honor.
 2               Your Honor, when I made that statement I was not
 3    discussing their current location.       I was not discussing
 4    post-Signal employment, their mental well-being, or their
 5    immigration status.
 6               This is what I was rebutting and referring to.
 7               On transcript Page 4893, Mr. Howard's closing
 8    argument, very last paragraph.
 9               (As read:)    Well, now you have an opportunity to do
10    what Signal never expected would happen.        They did everything
11    in their power to keep this case from ever getting to court,
12    from ever getting before a jury or to you.
13               So when I made my closing argument, those last two
14    sentences, "sometimes lawsuits take a little longer than
15    three years, but they're still here," that had nothing to do
16    with their location other than in this court.
17               It was --
18               THE COURT:    I find that lacks credibility.       I think
19    you wanted to tell the jury that the plaintiffs are in the
20    United States.
21               MS. HANGARTNER:     Your Honor, with all due respect,
22    I --
23               THE COURT:    I don't like that phrase, either.        I
24    assume you respect the Court, so just get to it.
25               MS. HANGARTNER:     I've talked to people who took it



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 43 of 116
                                                                         5114




 1    exactly the way that I meant to say it.
 2               THE COURT:    Well, that's nice, but...
 3               All right.    Does anybody else want to respond?
 4               MR. HOWARD:    Yes, Your Honor.
 5               I note first that if Ms. Hangartner really just
 6    wanted to respond to the perseverance quote in my closing,
 7    she did not need to put up Exhibit 1015 and show that portion
 8    of the e-mail.
 9               THE COURT:    I think it -- was it 1015?
10               MR. HOWARD:    It was 1015, Your Honor.
11               THE COURT:    Oh, I had the number wrong.      Okay.
12               MR. HOWARD:    Your Honor, the violation of this
13    Court's multiple orders was flagrant and premeditated.            There
14    was a slide prepared for Ms. Hangartner's closing with that
15    portion of Exhibit 1015, which Your Honor is correct, was not
16    the subject of any testimony during the entire trial.
17               Counsel waited until the very end of her closing to
18    make that statement in order to avoid objection and
19    interruption.
20               Counsel not only read the language in the e-mail,
21    which referred to the precluded topic of T visas, but counsel
22    added her own testimony in violation of the Court order and
23    without any evidentiary basis in the record that plaintiffs
24    are still here.    And she meant "still here in the U.S."
25               Sanctions are warranted, but it is plaintiffs' view



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 44 of 116
                                                                        5115




 1    that the sanctions should be even more directed to Signal.
 2    It's inconceivable that counsel prepared and delivered, at
 3    the very end, an exclamation point on Signal's case in this
 4    argument without Signal's knowledge and approval.
 5               Even more likely -- giving Ms. Hangartner the
 6    benefit of the doubt -- she did this at Signal's urging.
 7               Indeed you will recall, Your Honor, there were
 8    times during the testimony in the case, such as during my
 9    examination the first time of Mr. Schnoor that he
10    gratuitously mentioned at Page 216, Lines 1 to 2 (as read:)
11    I know they are working all over the country for others.
12               That was unsolicited, and you cautioned the witness
13    and counsel from eliciting any such gratuitous comments.
14               So even after all the evidence induced in this
15    litigation, and all the evidence and testimony proffered in
16    this trial, Signal is still advancing its theory that
17    plaintiffs' pains were fabricated in order to advance some
18    nefarious plot to remove the U.S. government's H-2B system.
19               And it shows that Signal is still in denial of any
20    wrongdoing, refuses to accept responsibility or
21    accountability, and would engage in the conduct again.
22               And its conduct in the course of the trial and
23    pretrial has consistently been a pattern of failing to follow
24    the rules and regulations and the orders of this Court.           And
25    now, after more than a dozen failed attempts to overturn the



                              OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 45 of 116
                                                                         5116




 1    orders of this Court -- including, as Your Honor noted, even
 2    a failed mandamus petition to the Fifth Circuit -- Signal
 3    just decided to ignore all those court orders and take it in
 4    its own hands at the 11th hour and 59th minute of this trial
 5    to present its theory of motive to the jury -- even risking a
 6    mistrial after almost five weeks of everyone being here.
 7                Our proposed sanctions on Signal would be that
 8    Signal should be required to pay plaintiffs' counsel its
 9    attorneys' fees and costs associated with all of the briefing
10    that we've been required to do on this issue throughout the
11    course of this litigation.
12                Thank you, Your Honor.
13                THE COURT:    All right.   Any response,
14    Ms. Hangartner?
15                MS. HANGARTNER:    Your Honor, I'm a little confused.
16                I mean, 1015 was entered into evidence.       It was
17    shown to the jury on multiple occasions, including the
18    paragraph that I put up there.      It was not on a slide.
19                What I did -- Scott, who was sitting back there,
20    put the exhibit up.      I did not put it on a slide.     It was the
21    exhibit itself.
22                The other paragraphs were discussed.
23                It wasn't redacted.    They didn't ask that it be
24    redacted.   It is in evidence -- the entire document is in
25    evidence.



                               OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 46 of 116
                                                                          5117




 1                 And I want to say -- I want make this abundantly
 2    clear.   My client had nothing do with this.        This is not
 3    Signal, this is me, Erin Casey Hangartner.
 4                 And again, Your Honor, what I said was not what
 5    Mr. Howard thinks, and obviously what this Court believes.            I
 6    apologize, but that was not my intent.          My intent was to
 7    rebut what Mr. Howard said about Signal.
 8                 THE COURT:    Okay.   All right.    Does anyone else
 9    have anything else we need to discuss?
10                 (No response.)
11                 THE COURT:    All right.   So we'll -- I'll let you
12    know if we have any questions from the jury or hear from them
13    otherwise.
14                 I let them go yesterday at 4:00.       We'll do the same
15    today.
16                 I'm going to bring them back in the courtroom and
17    give them instructions just the same as I've done during the
18    trial.   You know, don't talk to anybody else about the case,
19    don't use the Internet.       So if anyone wants to be here,
20    you're welcome, but you don't have to be.
21                 MR. CERNIGLIA:    I just have one -- I guess it's
22    more of a statement or request.
23                 Mr. Burnett's friend's that committed suicide
24    funeral is tomorrow, and if the jury comes back, he won't be
25    able to be here.    I can waive his presence?



                                OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 47 of 116
                                                                                   5118




            1               THE COURT:    Yes.
            2               MR. CERNIGLIA:       Thank you.
            3               THE COURT:    Okay.    Thank you all.
            4                                        (A recess was taken.)
13:09:26    5                             AFTER THE RECESS
            6                                        (Call to order of the court.)
            7               THE COURT:    Okay.    Go get them.
            8                                        (Jury in at 2:38 p.m.)
            9               THE COURT:    All right.    Be seated.
14:38:56   10               Good afternoon, ladies and gentlemen of the jury.
           11    Have you elected a foreperson?
           12               THE FOREPERSON:      Yes.
           13               THE COURT:    Would that person please stand up and
           14    give us your name and your juror number.
14:39:08   15               THE FOREPERSON:      Trenease Knox, Juror No. 10.
           16               THE COURT:    Has the jury reached a verdict?
           17               THE FOREPERSON:      Yes, ma'am.
           18               THE COURT:    Would you please give the verdict form
           19    to the courtroom deputy.
14:39:20   20               THE FOREPERSON:      (Complies.)
           21               THE COURT:    All right.    Would you please read the
           22    verdict.
           23               THE CASE MANAGER:      Jury verdict form, Stage 1.
           24               Plaintiffs' claims.
14:40:32   25               Claim One, all plaintiffs against Signal, Burnett



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 48 of 116
                                                                                   5119




            1    and Dewan.
            2                 Trafficking Victims Protection Act, Signal.
            3                 A.   Forced Labor.
            4                 Question 1:    Do you find from a preponderance of
14:40:48    5    the evidence that Signal knowingly obtained any plaintiff's
            6    labor by threatening serious harm to him or another person?
            7                 Sony Sulekha, Plaintiff One, yes.
            8                 Jacob Joseph Kadakkarappally, yes.      Plaintiff Two.
            9                 Plaintiff Three, Palanyandi Thangamani, yes.
14:41:07   10                 Plaintiff Four, Andrews Padavettiyil, yes.
           11                 Plaintiff Five, Hemant Khuttan, yes.
           12                 Question 2:    Do you find from a preponderance of
           13    the evidence that Signal knowingly obtained any plaintiff's
           14    labor by means of a scheme, plan or pattern intended to cause
14:41:28   15    him to believe that, if he did not perform work at Signal,
           16    then he or another person would suffer serious harm?
           17                 One, yes.
           18                 Two, yes.
           19                 Three, yes.
14:41:41   20                 Four, yes.
           21                 Five, yes.
           22                 Question 3:    Do you find from a preponderance of
           23    the evidence that Signal knowingly obtained any plaintiff's
           24    labor by means of the abuse or threatened abuse of law or the
14:41:57   25    legal process?



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 49 of 116
                                                                                   5120




            1               One, yes.
            2               Two, yes.
            3               Three, yes.
            4               Four, yes.
14:42:05    5               Five, yes.
            6               Question 4:    Do you find from a preponderance of
            7    the evidence that any plaintiffs for whom you answered "yes"
            8    for Questions 1, 2 or 3 was damaged by Signal as a result of
            9    forced labor?
14:42:22   10               One, yes.
           11               Two, yes.
           12               Three, yes.
           13               Four, yes.
           14               Five, yes.
14:42:29   15
           16               B:   Trafficking For Forced Labor.
           17               Question 1:    Do you find from a preponderance of
           18    the evidence that Signal recruited, transported, provided, or
           19    obtained by any means any plaintiff for labor or services?
14:42:46   20               One, yes.
           21               Two, yes.
           22               Three, yes.
           23               Four, yes.
           24               Five, yes.
14:42:57   25               Question 2:    Do you find from a preponderance of



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 50 of 116
                                                                                   5121




            1    the evidence that Signal acted with the knowledge that any of
            2    the plaintiffs would be subjected to forced labor?
            3               One, yes.
            4               Two, yes.
14:43:09    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Question 3:    Do you find from a preponderance of
            9    the evidence that any plaintiff was damaged by Signal as a
14:43:25   10    result of trafficking for forced labor?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
14:43:33   15               Five, yes.
           16               Trafficking Victims Protection Act - Malvern C.
           17    Burnett (Burnett).
           18               A.   Forced Labor.
           19               Question 1:    Do you find from a preponderance of
14:43:49   20    the evidence that Burnett knowingly obtained any plaintiff's
           21    labor by threatening serious harm to him or another person?
           22               One, yes.
           23               Two, yes.
           24               Three, yes.
14:44:01   25               Four, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 51 of 116
                                                                                   5122




            1               Five, yes.
            2               Question 2:    Do you find from a preponderance of
            3    the evidence that Burnett knowingly obtained any plaintiff's
            4    labor by means of a scheme, plan, or pattern intended to
14:44:15    5    cause him to believe that, if he did not perform work at
            6    Signal, then he or another person would suffer serious harm?
            7               One, yes.
            8               Two, yes.
            9               Three, yes.
14:44:26   10               Four, yes.
           11               Five, yes.
           12               Question 3:    Do you find from a preponderance of
           13    the evidence that Burnett knowingly obtained any plaintiff's
           14    labor by means of the abuse or threatened abuse of law or the
14:44:42   15    legal process?
           16               One, yes.
           17               Two, yes.
           18               Three, yes.
           19               Four, yes.
14:44:49   20               Five, yes.
           21               Question 4:    Do you find from a preponderance of
           22    the evidence that any plaintiff for whom you answered "yes"
           23    for Questions 1, 2 or 3 was damaged by Burnett as a result of
           24    forced labor.
14:45:06   25               One, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 52 of 116
                                                                                   5123




            1               Two, yes.
            2               Three, yes.
            3               Four, yes.
            4               Five, yes.
14:45:10    5               B.   Trafficking For Forced Labor.
            6               Question 1:    Do you find from a preponderance of
            7    the evidence that Burnett recruited, transported, provided or
            8    obtained by any means any plaintiff for labor or services?
            9               One, yes.
14:45:28   10               Two, yes.
           11               Three, yes.
           12               Four, yes.
           13               Five, yes.
           14               Question 2:    Do you find from a preponderance of
14:45:38   15    the evidence that Burnett acted with the knowledge that any
           16    of the plaintiffs would be subjected to forced labor?
           17               One, yes.
           18               Two, yes.
           19               Three, yes.
14:45:48   20               Four, yes.
           21               Five, yes.
           22               Question 3:    Do you find from a preponderance of
           23    the evidence that any plaintiff was damaged by Burnett as a
           24    result of trafficking for forced labor?
14:46:01   25               One, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 53 of 116
                                                                                   5124




            1               Two, yes.
            2               Three, yes.
            3               Four, yes.
            4               Five, yes.
14:46:07    5               Trafficking Victims Protection Act - Law Offices of
            6    Malvern C. Burnett, APC (Burnett Law Offices).
            7               A.   Forced Labor.
            8               Do you find from a preponderance of the evidence
            9    that Burnett Law Offices knowingly obtained any plaintiff's
14:46:26   10    labor by threatening serious harm to him or another person?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
14:46:35   15               Five, yes.
           16               Question 2:    Do you find from a preponderance of
           17    the evidence that Burnett Law Offices knowingly obtained any
           18    plaintiff's labor by means of a scheme, plan or pattern
           19    intended to cause him to believe that, if he did not perform
14:46:52   20    work at Signal, then he or another person would suffer
           21    serious harm?
           22               One, yes.
           23               Two, yes.
           24               Three, yes.
14:47:01   25               Four, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 54 of 116
                                                                                   5125




            1                Five, yes.
            2                Question 3:    Do you find from a preponderance of
            3    the evidence that Burnett Law Offices knowingly obtained any
            4    plaintiff's labor by means of the abuse or threatened abuse
14:47:16    5    of law or the legal process?
            6                One, yes.
            7                Two, yes.
            8                Three, yes.
            9                Four, yes.
14:47:22   10                Five, yes.
           11                Question 4:    Do you find from a preponderance of
           12    the evidence that any plaintiff for whom you answered "yes"
           13    for Questions 1, 2 or 3 was damaged by Burnett Law Offices as
           14    a result of forced labor?
14:47:40   15                One, yes.
           16                Two, yes.
           17                Three, yes.
           18                Four, yes.
           19                Five, yes.
14:47:46   20                B.   Trafficking For Forced Labor.
           21                Question 1:    Do you find from a preponderance of
           22    the evidence that Burnett Law Offices recruited, transported,
           23    provided or obtained by any means any plaintiff for labor or
           24    services?
14:48:03   25                One, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 55 of 116
                                                                                   5126




            1               Two, yes.
            2               Three, yes.
            3               Four, yes.
            4               Five, yes.
14:48:08    5               Question 2:    Do you find from a preponderance of
            6    the evidence that Burnett Law Offices acted with the
            7    knowledge that any of the plaintiffs would be subjected
            8    forced labor?
            9               One, yes.
14:48:23   10               Two, yes.
           11               Three, yes.
           12               Four, yes.
           13               Five, yes.
           14               Question 3:    Do you find from a preponderance of
14:48:32   15    the evidence that any plaintiff was damaged by Burnett Law
           16    Offices as a result of trafficking for forced labor?
           17               One, yes.
           18               Two, yes.
           19               Three, yes.
14:48:42   20               Four, yes.
           21               Five, yes.
           22               Trafficking Victim Protections Act -Sachin Dewan
           23    (Dewan).
           24               A.   Forced Labor.
14:48:55   25               Do you find from a preponderance of the evidence



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 56 of 116
                                                                                   5127




            1    that Dewan knowingly obtained any plaintiff's labor by
            2    threatening serious harm to him or another person?
            3               One, yes.
            4               Two, yes.
14:49:07    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Do you find from a preponderance of the evidence
            9    that Dewan knowingly obtained any plaintiff's labor by means
14:49:17   10    of a scheme, plan or pattern intended to cause him to believe
           11    that, if he did not perform work at Signal, that he or
           12    another person would suffer serious harm?
           13               One, yes.
           14               Two, yes.
14:49:31   15               Three, yes.
           16               Four, yes.
           17               Five, yes.
           18               Question 3:    Do you find from a preponderance of
           19    the evidence that Dewan knowingly obtained any plaintiff's
14:49:42   20    labor by means of the abuse or threatened abuse of law or the
           21    legal process?
           22               One, yes.
           23               Two, yes.
           24               Three, yes.
14:49:51   25               Four, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 57 of 116
                                                                                   5128




            1               Five, yes.
            2               Question 4:    Do you find from a preponderance of
            3    the evidence that any plaintiff for whom you answered "yes"
            4    for Questions 1, 2 or 3 was damaged by Dewan as a result of
14:50:06    5    forced labor?
            6               One, yes.
            7               Two, yes.
            8               Three, yes.
            9               Four, yes.
14:50:12   10               Five, yes.
           11               B.   Trafficking For Forced Labor.
           12               Do you find from a preponderance of the evidence
           13    that Dewan recruited, transported, provided, or obtained by
           14    any means any plaintiff for labor or services?
14:50:28   15               One, yes.
           16               Two, yes.
           17               Three, yes.
           18               Four, yes.
           19               Five, yes.
14:50:32   20               Question 2:    Do you find from a preponderance of
           21    the evidence that Dewan acted with the knowledge that any of
           22    the plaintiffs would be subjected to forced labor?
           23               One, yes.
           24               Two, yes.
14:50:46   25               Three, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 58 of 116
                                                                                   5129




            1               Four, yes.
            2               Five, yes.
            3               Question 3:    Do you find from a preponderance of
            4    the evidence that any plaintiff was damaged by Dewan as a
14:50:59    5    result of trafficking for forced labor?
            6               One, yes.
            7               Two, yes.
            8               Three, yes.
            9               Four, yes.
14:51:06   10               Five, yes.
           11               Trafficking Victims Protection Act - Dewan
           12    Consultants, Pvt., Ltd., a/k/a Medtech Consultants
           13    (Dewan Consultants).
           14               A.   Forced Labor.
14:51:23   15               Question 1:    Do you find from a preponderance of
           16    the evidence that Dewan Consultants knowingly obtained any
           17    plaintiff's labor by threatening serious harm to him or
           18    another person?
           19               One, yes.
14:51:36   20               Two, yes.
           21               Three, yes.
           22               Four, yes.
           23               Five, yes.
           24               Question 2:    Do you find from a preponderance of
14:51:44   25    the evidence that Dewan Consultants knowingly obtained any



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 59 of 116
                                                                                   5130




            1    plaintiff's labor by means of a scheme, plan or pattern
            2    intended to cause him to believe that, if he did to the
            3    perform work at Signal, then he or another person would
            4    suffer serious harm?
14:52:00    5               One, yes.
            6               Two, yes.
            7               Three, yes.
            8               Four, yes.
            9               Five, yes.
14:52:05   10               Question 3:    Do you find from a preponderance of
           11    the evidence that Dewan Consultants knowingly obtained any
           12    plaintiff's labor by means of the abuse or threatened abuse
           13    of law or the legal process?
           14               One, yes.
14:52:22   15               Two, yes.
           16               Three, yes.
           17               Four, yes.
           18               Five, yes.
           19               Question 4:    Do you find from a preponderance of
14:52:31   20    the evidence that any plaintiff for whom you answered "yes"
           21    for Questions 1, 2 or 3 was damaged by Dewan Consultants as a
           22    result of forced labor?
           23               One, yes.
           24               Two, yes.
14:52:43   25               Three, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 60 of 116
                                                                                   5131




            1                Four, yes.
            2                Five, yes.
            3                B. Trafficking For Forced Labor.
            4                Question 1:    Do you find from a preponderance of
14:52:54    5    the evidence that Dewan Consultants recruited, transported,
            6    provided or obtained by any means any plaintiff for labor or
            7    services?
            8                One, yes.
            9                Two, yes.
14:53:06   10                Three, yes.
           11                Four, yes.
           12                Five, yes.
           13                Question 2:    Do you find from a preponderance of
           14    the evidence that Dewan Consultants acted with the knowledge
14:53:18   15    that any of the plaintiffs would be subjected to forced
           16    labor?
           17                One, yes.
           18                Two, yes.
           19                Three, yes.
14:53:26   20                Four, yes.
           21                Five, yes.
           22                Question 3:    Do you find from a preponderance of
           23    the evidence that any plaintiff was damaged by
           24    Dewan Consultants as a result of trafficking for forced
14:53:39   25    labor?



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 61 of 116
                                                                                   5132




            1               One, yes.
            2               Two, yes.
            3               Three, yes.
            4               Four, yes.
14:53:44    5               Five, yes.
            6
            7               Claim Two:    All Plaintiffs Against Signal.
            8               A.   Discriminatory Terms and Conditions of
            9    Employment.
14:53:57   10               Question 1:    Have Plaintiff(s) proven by a
           11    preponderance of the evidence that Signal required them to
           12    live in the man camp and/or deducted fees from plaintiffs'
           13    wages for the man camp accommodations?
           14               One, yes.
14:54:10   15               Two, yes.
           16               Three, yes.
           17               Four, yes.
           18               Five, yes.
           19               Question 2:    Have Plaintiff(s) proven by a
14:54:20   20    preponderance of the evidence that their being Indian or H-2B
           21    visa holders was a motivating factor in Signal's decision to
           22    require them to live in the man camp and/or deduct fees from
           23    plaintiffs' wages for the man camp accommodations?
           24               One, yes.
14:54:36   25               Two, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 62 of 116
                                                                                   5133




            1               Three, yes.
            2               Four, yes.
            3               Five, yes.
            4               Question 3:    Has Signal proven by a preponderance
14:54:48    5    of the evidence that it would have made the same decision to
            6    require plaintiffs to live in the Signal man camp or deduct
            7    fees for man camp accommodations from plaintiffs' pay even if
            8    it had not considered the fact that plaintiffs are Indian or
            9    H-2B visa holders?
14:55:08   10               One, no.
           11               Two, no.
           12               Three, no.
           13               Four, no.
           14               Five, no.
14:55:14   15               Question 4:    Have Plaintiff(s) proven by a
           16    preponderance of the evidence that they were damaged by
           17    Signal's discriminatory terms and conditions of employment?
           18               One, yes.
           19               Two, yes.
14:55:28   20               Three, yes.
           21               Four, yes.
           22               Five, yes.
           23               B.   Harassing Living Conditions.
           24               Question 1:    Have Plaintiff(s) proven by a
14:55:40   25    preponderance of the evidence that all or some of them were



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 63 of 116
                                                                                   5134




            1    subject to unwelcome harassment?
            2               One, yes.
            3               Two, yes.
            4               Three, yes.
14:55:50    5               Four, yes.
            6               Five, yes.
            7               Question 2:    Have Plaintiff(s) proven by a
            8    preponderance of the evidence that the harassment complained
            9    of was based on their race, ethnicity, ancestry or status as
14:56:08   10    H-2B visa holders?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
14:56:12   15               Five, yes.
           16               Question 3:    Have Plaintiff(s) proven by a
           17    preponderance of the evidence that the harassment complained
           18    of affected a term, condition, or privilege of employment?
           19               One, yes.
14:56:27   20               Two, yes.
           21               Three, yes.
           22               Four, yes.
           23               Five, yes.
           24               Question 4:    Have Plaintiff(s) proven by a
14:56:35   25    preponderance of the evidence that they were damaged by the



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 64 of 116
                                                                                   5135




            1    harassing living conditions at the Signal man camp?
            2                 One, yes.
            3                 Two, yes.
            4                 Three, yes.
14:56:45    5                 Four, yes.
            6                 Five, yes.
            7                 Claim Three:    Plaintiff, Jacob Joseph
            8    Kadakkarappally (Mr. Jacob), against Signal.
            9                 Retaliation.
14:57:00   10                 Question 1:    Do you find from a preponderance of
           11    the evidence that Mr. Jacob engaged in protected activity?
           12                 Yes.
           13                 Question 2:    Do you find from a preponderance of
           14    the evidence that Signal terminated the employment of
14:57:15   15    Mr. Jacob?
           16                 Yes.
           17                 Question 3:    Do you find from a preponderance of
           18    the evidence that Signal would not have terminated Mr. Jacob
           19    but for his engaging in protected activity?
14:57:29   20                 Yes.
           21                 Question 4:    Do you find from a preponderance of
           22    the evidence that Mr. Jacob was damaged by Signal's unlawful
           23    retaliation?
           24                 Yes.
14:57:40   25                 Claim Four:    All Plaintiffs Against Signal, Burnett



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 65 of 116
                                                                                   5136




            1    and Dewan.
            2                 RICO - All Defendants.
            3                 Question 1:    Do you find from a preponderance of
            4    the evidence that the following enterprises existed?
14:58:03    5                 RICO Enterprise I:    Yes.
            6                 RICO Enterprise II:    Yes.
            7                 RICO Enterprise III:    Yes.
            8                 Question 2:    Do you find from a preponderance of
            9    the evidence that the following enterprises engaged in, or
14:58:23   10    had some effect on, interstate or foreign commerce?
           11                 RICO Enterprise I.    Yes.
           12                 RICO Enterprise II:    Yes.
           13                 RICO Enterprise III:    Yes.
           14                 A.     RICO General Claim - Signal.
14:58:39   15                 Question 3:    Do you find from a preponderance of
           16    the evidence that Signal was employed by or associated with
           17    any of the enterprises for which you answered "yes" in
           18    response to Question 2.
           19                 Yes.
14:58:54   20                 Question 4:    Do you find from a preponderance of
           21    the evidence that Signal participated, either directly or
           22    indirectly, in the conduct of the affairs of any of the
           23    enterprises for which you answered yes?
           24                 Yes.
14:59:10   25                 Question 5:    Do you find from a preponderance of



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 66 of 116
                                                                                   5137




            1    the evidence that Signal participated through a pattern of
            2    racketeering activity?      To answer this question, please
            3    answer the following two subquestions:
            4               5(i):    Predicate Acts.
14:59:29    5               a.     Forced Labor.
            6               1:     Did Signal commit at least one act of forced
            7    labor?
            8               Yes.
            9               Question 2:     Did Signal commit more than one act of
14:59:42   10    forced labor?
           11               Yes.
           12               b.     Trafficking For Forced Labor.
           13               Question 1:     Did Signal commit at least one act of
           14    trafficking for forced labor?
14:59:52   15               Yes.
           16               Question 2:     Did Signal commit more than one act of
           17    trafficking for forced labor?
           18               Yes.
           19               c.     Mail Fraud.
15:00:01   20               Question 1:     Did Signal commit at least one act of
           21    mail fraud?
           22               Yes.
           23               Question 2:     Did Signal commit more than one act of
           24    mail fraud?
15:00:11   25               Yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 67 of 116
                                                                                   5138




            1               d.     Wire Fraud.
            2               Question 1:     Did Signal commit at least one act of
            3    the wire fraud?
            4               Yes.
15:00:17    5               Question 2:     Did Signal commit more than one act of
            6    wire fraud?
            7               Yes.
            8               c -- excuse me, e.     Immigration Document Fraud.
            9               Question 1:     Did Signal commit at least one act of
15:00:30   10    immigration document fraud?
           11               Yes.
           12               Question 2:     Did Signal commit more than one act of
           13    immigration document fraud?
           14               Yes.
15:00:37   15               5(ii):    Predicate Acts Committed As Part of a
           16    Pattern.
           17               Did the predicate acts committed by Signal form a
           18    pattern by having the same or similar purposes, results,
           19    participants, victims, or methods of commission, or were
15:01:00   20    otherwise interrelated?
           21               Yes.
           22               Question 6:     Do you find from a preponderance of
           23    the evidence that any plaintiff was injured by Signal's
           24    general RICO violation?
15:01:12   25               One, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 68 of 116
                                                                                   5139




            1               Two, yes.
            2               Three, yes.
            3               Four, yes.
            4               Five, yes.
15:01:17    5               B.     RICO Conspiracy Claim - Signal.
            6               Question 1:    Do you find from a preponderance of
            7    the evidence that two or more persons or entities, one of
            8    whom was Signal, agreed to try to accomplish an unlawful plan
            9    to engage in a pattern of racketeering activity associated
15:01:38   10    with any of the enterprises for which you answered "yes"?
           11               Yes.
           12               Question 2:    Do you find from a preponderance of
           13    the evidence that Signal agreed to the overall objective of
           14    the conspiracy or agreed with at least one other defendant to
15:01:57   15    commit two predicate acts as part of the conspiracy?
           16               Yes.
           17               Question 3:    Do you find from a preponderance of
           18    the evidence that any plaintiff was injured by Signal's RICO
           19    conspiracy violation?
15:02:10   20               One, yes.
           21               Two, yes.
           22               Three, yes.
           23               Four, yes.
           24               Five, yes.
15:02:16   25               A.     RICO General Claim - Malvern C. Burnett



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 69 of 116
                                                                                   5140




            1    (Burnett).
            2                 Question 3.    Do you find from a preponderance of
            3    the evidence that Burnett was employed by or associated with
            4    any of the enterprises for which you answered "yes"?
15:02:32    5                 Yes.
            6                 Question 4:    Do you find from a preponderance of
            7    the evidence that Burnett participated, either directly or
            8    indirectly, in the conduct of the affairs of any of the
            9    enterprises for which you answered "yes"?
15:02:48   10                 Yes.
           11                 Question 5:    Do you find from a preponderance of
           12    the evidence that Burnett participated through a pattern of
           13    racketeering activity?       To answer this question, please
           14    answer the following two subquestions:
15:03:03   15                 5(i).    Predicate Acts.
           16                 a. Forced Labor.
           17                 Did Burnett commit at least one act of forced
           18    labor?
           19                 Yes.
15:03:11   20                 Did Burnett commit more than one act of forced
           21    labor?
           22                 Yes.
           23                 b.     Trafficking For Forced Labor.
           24                 Did Burnett commit at least one act of trafficking
15:03:21   25    for forced labor?



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 70 of 116
                                                                                   5141




            1               Yes.
            2               did Burnett commit more than one act of trafficking
            3    for forced labor?
            4               Yes.
15:03:30    5               c.     Mail Fraud
            6               Did Burnett commit at least one act of mail fraud?
            7               Yes.
            8               Did Burnett commit more than one act of the mail
            9    fraud?
15:03:39   10               Yes.
           11               d.     Wire Fraud.
           12               Did Burnett commit at least one act of the wire
           13    fraud?
           14               Yes.
15:03:45   15               Did Burnett commit more than one act of wire fraud?
           16               Yes.
           17               e.     Immigration Document Fraud.
           18               Did Burnett commit at least one act of immigration
           19    document fraud?
15:03:56   20               Yes.
           21               Did you Burnett commit more than one act of the
           22    immigration document fraud?
           23               Yes.
           24               5(ii).    Predicate Acts Committed As Part of a
15:04:10   25    Pattern.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 71 of 116
                                                                                   5142




            1                 Did the predicate acts committed by Burnett form a
            2    pattern by having the same or similar purposes, results,
            3    participants, victims, or methods of commission, or were
            4    otherwise interrelated?
15:04:22    5                 Yes.
            6                 Question 6:     Do you find from a preponderance of
            7    the evidence that any plaintiff was injured by Burnett's
            8    general RICO violation?
            9                 One, yes.
15:04:33   10                 Two, yes.
           11                 Three, yes.
           12                 Four, yes.
           13                 Five, yes.
           14                 B.     RICO Conspiracy Claim - Malvern C. Burnett
15:04:45   15    (Burnett).
           16                 Question 1:     Do you find from a preponderance of
           17    the evidence that two or more persons or entities, one of
           18    whom was Burnett, agreed to try to accomplish an unlawful
           19    plan to engage in a pattern of racketeering activity
15:04:59   20    associated with any of the enterprises for which you answered
           21    yes?
           22                 Yes.
           23                 2:     Do you find from a preponderance of the
           24    evidence that Burnett agreed to the overall objective of the
15:05:11   25    conspiracy or agreed with at least one other defendant to



                                            OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 72 of 116
                                                                                   5143




            1    commit two predicate acts as part of the conspiracy?
            2               Yes.
            3               3:     Do you find from a preponderance of the
            4    evidence that any Plaintiff was injured by Burnett's RICO
15:05:27    5    conspiracy violation?
            6               One, yes.
            7               Two, yes.
            8               Three, yes.
            9               Four, yes.
15:05:33   10               Five, yes.
           11               A.     RICO General Claim - Law Offices of Malvern C.
           12    Burnett, APC (Burnett Law Offices).
           13               3:     Do you find from a preponderance of the
           14    evidence that Burnett Law Offices was employed by or
15:05:50   15    associated with any of the enterprises for which you answered
           16    "yes"?
           17               Yes.
           18               4:     Do you find from a preponderance of the
           19    evidence that Burnett Law Offices participated, either
15:06:03   20    directly or indirectly, in the conduct of the affairs of any
           21    of the enterprises for which you answered "yes"?
           22               Yes.
           23               5:     Do you find from a preponderance of the
           24    evidence that Burnett Law Offices participated through a
15:06:17   25    pattern of racketeering activity?       To answer this question,



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 73 of 116
                                                                                   5144




            1    please answer the following two subquestions:
            2               5(i).    Predicate Acts.
            3               a.     Forced Labor.
            4               Did Burnett Law Offices commit at least one act of
15:06:31    5    forced labor?
            6               Yes.
            7               Did Burnett Law Offices commit more than one act of
            8    forced labor?
            9               Yes.
15:06:38   10               b.     Trafficking For Forced Labor.
           11               1:     Did Burnett Law Offices commit at least one act
           12    of trafficking for forced labor?
           13               Yes.
           14               2:     Did Burnett Law Offices commit more than one
15:06:50   15    act of trafficking for forced labor?
           16               Yes.
           17               c.     Mail Fraud.
           18               Did Burnett Law Offices commit at least one act of
           19    mail fraud?
15:06:59   20               Yes.
           21               Did Burnett Law Offices commit more than one act of
           22    mail fraud?
           23               Yes.
           24               d.     Wire Fraud.
15:07:07   25               Did Burnett Law Offices commit at least one act of



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 74 of 116
                                                                                   5145




            1    wire fraud?
            2               Yes.
            3               Did Burnett Law Offices commit more than one act of
            4    wire fraud?
15:07:17    5               Yes.
            6               e.     Immigration Document Fraud.
            7               Did Burnett Law Offices commit at least one act of
            8    immigration document fraud?
            9               Yes.
15:07:27   10               Did Burnett Law Offices commit more than one act of
           11    immigration document fraud?
           12               Yes.
           13               5(ii):    Predicate Acts Committed As Part of a
           14    Pattern.
15:07:41   15               Did the predicate acts committed by Burnett Law
           16    Offices form a pattern by having the same or similar
           17    purposes, results, participants, victims, or methods of
           18    commission, or were otherwise interrelated?
           19               Yes.
15:07:55   20               6:     Do you find from a preponderance of the
           21    evidence that any plaintiff was injured by Burnett Law
           22    Offices' general RICO violation?
           23               One, yes.
           24               Two, yes.
15:08:08   25               Three, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 75 of 116
                                                                                   5146




            1               Four, yes.
            2               Five, yes.
            3               B.     RICO Conspiracy Claim - Law Offices of
            4    Malvern C. Burnett, APC (Burnett Law Offices).
15:08:19    5               1:     Do you find from a preponderance of the
            6    evidence that two or more persons or entities, one of whom
            7    was Burnett Law Offices, agreed to try to accomplish an
            8    unlawful plan to engage in a pattern of racketeering activity
            9    associated with any of the enterprises for which you answered
15:08:37   10    yes?
           11               Yes.
           12               2:     Do you find from a preponderance of the
           13    evidence that Burnett Law Offices agreed to the overall
           14    objective of the conspiracy or agreed with at least one other
15:08:50   15    defendant to commit two predicate acts as part of the
           16    conspiracy?
           17               Yes.
           18               3:     Do you find from a preponderance of the
           19    evidence that any plaintiff was injured by Burnett Law
15:09:05   20    Offices' RICO conspiracy violation?
           21               One, yes.
           22               Two, yes.
           23               Three, yes.
           24               Four, yes.
15:09:12   25               Five, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 76 of 116
                                                                                   5147




            1               A.     RICO General Claim - Sachin Dewan (Dewan).
            2               3:     Do you find from a preponderance of the
            3    evidence that Dewan was employed by or associated with any of
            4    the enterprises for which you answered "yes"?
15:09:28    5               Yes.
            6               4:     Do you find from a preponderance of the
            7    evidence that Dewan participated, either directly or
            8    indirectly, in the conduct of the affairs of any of the
            9    enterprises for which you answered "yes"?
15:09:42   10               Yes.
           11               5:     Do you find from a preponderance of the
           12    evidence that Dewan participated through a pattern of
           13    racketeering activity?
           14               5(i) Predicate Acts.
15:09:56   15               a.     Forced Labor.
           16               Did Dewan commit at least one act of forced labor?
           17               Yes.
           18               Did Dewan commit more than one act of forced labor?
           19               Yes.
15:10:06   20               b.     Trafficking For Forced Labor.
           21               Did Dewan commit at least one act of trafficking
           22    for forced labor?
           23               Yes.
           24               Did Dewan commit more than one act of trafficking
15:10:16   25    for forced labor?



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 77 of 116
                                                                                   5148




            1               Yes.
            2               c.     Mail Fraud.
            3               Did Dewan commit at least one act of mail fraud?
            4               Yes.
15:10:24    5               Did Dewan commit more than one act of mail fraud?
            6               Yes.
            7               d.     Wire Fraud.
            8               Did Dewan commit at least one act of wire fraud?
            9               Yes.
15:10:35   10               Did Dewan commit more than one act of wire fraud?
           11               Yes.
           12               e. Immigration Document Fraud.
           13               Did Dewan commit at least one act of immigration
           14    document fraud?
15:10:46   15               No.
           16               Did Dewan commit more than one act of immigration
           17    document fraud?
           18               No.
           19               5(ii):    Predicate Acts Committed As Part of a
15:10:57   20    Pattern.
           21               Did the predicate acts committed by Dewan form a
           22    pattern by having the same or similar purposes, results,
           23    participants, victims, or methods of commission, or were
           24    otherwise interrelated?
15:11:11   25               Yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 78 of 116
                                                                                   5149




            1               6:     Do you find from a preponderance of the
            2    evidence that any plaintiff was injured by Dewan's general
            3    RICO violation?
            4               One, yes.
15:11:22    5               Two, yes.
            6               Three, yes.
            7               Four, yes.
            8               Five, yes.
            9               B.     RICO Conspiracy Claim - Sachin Dewan (Dewan).
15:11:33   10               Do you find from a preponderance of the evidence
           11    that two or more persons or entities, one of whom was Dewan,
           12    agreed to try to accomplish an unlawful plan to engage in a
           13    pattern of racketeering activity associated with any of the
           14    enterprises for which you answered "yes"?
15:11:51   15               Yes.
           16               Do you find from a preponderance of the evidence
           17    that Dewan agreed to the overall objective of the conspiracy
           18    or agreed with at least one other defendant to commit two
           19    predicate acts as part of the conspiracy?
15:12:06   20               Yes.
           21               3:     Do you find from a preponderance of the
           22    evidence that any plaintiff was injured by Dewan's RICO
           23    conspiracy violation?
           24               One, yes.
15:12:20   25               Two, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 79 of 116
                                                                                   5150




            1               Three, yes.
            2               Four, yes.
            3               Five, yes.
            4               A.     RICO General Claim - Dewan Consultants's Pvt.,
15:12:33    5    Ltd., a/k/a Medtech Consultants (Dewan Consultants).
            6               3:     Do you find from a preponderance of the
            7    evidence that Dewan Consultants was employed by or associated
            8    with any of the enterprises for which you answered "yes"?
            9               Yes.
15:12:48   10               4:     Do you find from a preponderance of the
           11    evidence that Dewan Consultants participated, either directly
           12    or indirectly, in the conduct of the affairs of any of the
           13    enterprises for which you answered "yes"?
           14               Yes.
15:13:02   15               Do you find from a preponderance of the evidence
           16    that Dewan Consultants participated through a pattern of
           17    racketeering activity?
           18               5(i).    Predicate Acts.
           19               a.     Forced Labor.
15:13:15   20               Did Dewan Consultants commit at least one act of
           21    forced labor?
           22               Yes.
           23               Did Dewan Consultants commit more than one act of
           24    forced labor?
15:13:25   25               Yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 80 of 116
                                                                                   5151




            1               b. Trafficking For Forced Labor.
            2               Did Dewan Consultants commit at least one act of
            3    the trafficking for forced labor?
            4               Yes.
15:13:33    5               Did Dewan Consultants commit more than one act of
            6    trafficking for forced labor?
            7               Yes.
            8               c.     Mail Fraud.
            9               Did Dewan Consultants commit at least one act of
15:13:45   10    mail fraud?
           11               Yes.
           12               Did Dewan Consultants commit more than one act of
           13    mail fraud?
           14               Yes.
15:13:52   15               d.     Wire Fraud.
           16               Did Dewan Consultants commit at least one act of
           17    wire fraud?
           18               Yes.
           19               Did Dewan Consultants commit more than one act of
15:14:01   20    wire fraud?
           21               Yes.
           22               Did Dewan Consultants commit at least one act of
           23    immigration document fraud?
           24               No.
15:14:09   25               Did Dewan Consultants commit more than one act of



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 81 of 116
                                                                                   5152




            1    immigration document fraud?
            2               No.
            3               5(ii)    Predicate Acts Committed As Part of a
            4    Pattern.
15:14:21    5               Did the predicate acts committed by
            6    Dewan Consultants form a pattern by having the same or
            7    similar purposes, results, participants, victims, or methods
            8    of commission, or were otherwise interrelated?
            9               Yes.
15:14:35   10               Do you find from a preponderance of the evidence
           11    that any plaintiff was injured by Dewan Consultants' general
           12    RICO violation?
           13               One, yes.
           14               Two, yes.
15:14:46   15               Three, yes.
           16               Four, yes.
           17               Five, yes.
           18               B.     RICO Conspiracy Claim - Sachin Dewan and
           19    Dewan Consultants, Pvt., Ltd., a/k/a Medtech Consultants
15:15:02   20    (Dewan Consultants).
           21               Do you find from a preponderance of the evidence
           22    that two or more persons or entities, one of whom was
           23    Dewan Consultants, agreed to try to accomplish an unlawful
           24    plan to engage in a pattern of racketeering activity
15:15:18   25    associated with any of the enterprises for which you answered



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 82 of 116
                                                                                   5153




            1    "yes"?
            2                 Yes.
            3                 Do you find from a preponderance of the evidence
            4    that Dewan Consultants agreed to the overall objective of the
15:15:31    5    conspiracy or agreed with at least one other defendant to
            6    commit two predicate acts as part of the conspiracy?
            7                 Yes.
            8                 Do you find from a preponderance of the evidence
            9    that any plaintiff was injured by Dewan Consultants' RICO
15:15:45   10    conspiracy violation?
           11                 One, yes.
           12                 Two, yes.
           13                 Three, yes.
           14                 Four, yes.
15:15:51   15                 Five, yes.
           16                 Claim Five:    All Plaintiffs Against Signal, Burnett
           17    and Dewan.
           18                 Fraud - Signal.
           19                 Do you find from a preponderance of the evidence
15:16:05   20    that as a party to a contract(s), Signal (or with Signal's
           21    participation) or Signal's agents committed any of following
           22    acts:    (a) the suggestion as a fact of something that is not
           23    true by one who does not believe it to be true; (b) the act
           24    of concealment of a fact by one having knowledge or belief of
15:16:30   25    the fact; (c) a promise made without any intention of



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 83 of 116
                                                                                   5154




            1    performing it; (d) any other act designated to deceive --
            2    excuse me, designed to deceive; or (e) any such act or
            3    omission the law specifically declares to be fraudulent?
            4               One, yes.
15:16:48    5               Two, yes.
            6               Three, yes.
            7               Four, yes.
            8               Five, yes.
            9               2:   Do you find from a preponderance of the
15:16:57   10    evidence that the acts identified above were committed with
           11    intent to deceive any plaintiff or intent to convince any
           12    plaintiff to enter into the contracts?
           13               One, yes.
           14               Two, yes.
15:17:11   15               Three, yes.
           16               Four, yes.
           17               Five, yes.
           18               Do you find from a preponderance of the evidence
           19    that plaintiffs relied on the fraudulent representations made
15:17:23   20    by Signal or its agents?
           21               One, yes.
           22               Two, yes.
           23               Three, yes.
           24               Four, yes.
15:17:31   25               Five, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 84 of 116
                                                                                   5155




            1               Do you find from a preponderance of the evidence
            2    that plaintiffs were deceived by the fraudulent
            3    representations made by Signal or its agents?
            4               One, yes.
15:17:42    5               Two, yes.
            6               Three, yes.
            7               Four, yes.
            8               Five, yes.
            9               Do you find from a preponderance of the evidence
15:17:50   10    that plaintiffs were damaged as a result of the fraudulent
           11    representations made by Signal or its agents?
           12               One, yes.
           13               Two, yes.
           14               Three, yes.
15:18:00   15               Four, yes.
           16               Five, yes.
           17               Fraud - Malvern C. Burnett (Burnett).
           18               Do you find from a preponderance of the evidence
           19    that as a party to a contract(s), Burnett (or with Burnett's
           20    participation) or Burnett's agents committed any of following
           21    acts:   (a) the suggestion as a fact of something that is not
           22    true by one who does not believe it to be true; (b) the act
           23    of concealment of a fact by one having knowledge or belief of
           24    the fact; (c) a promise made without any intention of
           25    performing it; (d) any other act designed to deceive; or (e)



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 85 of 116
                                                                                   5156




            1    any such act or omission the law specifically declares to be
            2    fraudulent?
            3               One, yes.
            4               Two, yes.
15:18:50    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Do you find from a preponderance of the evidence
            9    the acts identified above were committed with intent to
15:19:01   10    deceive another party or intent to convince another party to
           11    enter into the contract?
           12               One, yes.
           13               Two, yes.
           14               Three, yes.
15:19:09   15               Four, yes.
           16               Five, yes.
           17               Do you find from a preponderance of the evidence
           18    that plaintiffs relied on the fraudulent representations made
           19    by Burnett or his agents?
15:19:21   20               One, yes.
           21               Two, yes.
           22               Three, yes.
           23               Four, yes.
           24               Five, yes.
15:19:26   25               Do you find from a preponderance of the evidence



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 86 of 116
                                                                                    5157




            1    that plaintiffs were deceived by the fraudulent
            2    representations made by Burnett or his agents?
            3               One, yes.
            4               Two, yes.
15:19:38    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Do you find from a preponderance of the evidence
            9    that plaintiffs were damaged as a result of the fraudulent
15:19:48   10    representations made by Burnett or his agents?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
15:19:56   15               Five, yes.
           16               Fraud - Law Offices of Malvern C. Burnett, APC,
           17    (Burnett Law Offices).
           18               Do you find from a preponderance of the evidence
           19    that as a party to a contract(s), Burnett Law Offices (or
           20    with Burnett Law Offices' participation) or Burnett Law
           21    Office's agents committed any of following acts:         (a) the
           22    suggestion as a fact of something that is not true by one who
           23    does not believe it to be true; (b) the act of concealment of
           24    a fact by one having knowledge or belief of the fact; (c) a
           25    promise made without any intention of performing it; (d) any



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 87 of 116
                                                                                   5158




            1    other act designed to deceive; or (e) any such act or
            2    omission the law specifically declares to be fraudulent?
            3               One, yes.
            4               Two, yes.
15:20:47    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Do you find from a preponderance of the evidence
            9    that the acts identified above were committed with intent to
15:20:58   10    deceive any plaintiff or intent to convince any plaintiff to
           11    enter into the contract?
           12               One, yes.
           13               Two, yes.
           14               Three, yes.
15:21:07   15               Four, yes.
           16               Five, yes.
           17               Do you find from a preponderance of the evidence
           18    that plaintiffs relied on the fraudulent representations made
           19    by Burnett Law Offices or its agents?
15:21:20   20               One, yes.
           21               Two, yes.
           22               Three, yes.
           23               Four, yes.
           24               Five, yes.
15:21:24   25               Do you find from a preponderance of the evidence



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 88 of 116
                                                                                   5159




            1    that plaintiffs were deceived by the fraudulent
            2    representations made by Burnett Law Offices or its agents?
            3               One, yes.
            4               Two, yes.
15:21:41    5               Three, yes.
            6               Four, yes.
            7               Five, yes.
            8               Do you find from a preponderance of the evidence
            9    that plaintiffs were damaged as a result of the fraudulent
15:21:47   10    representations made by Burnett Law Offices or its agents?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
15:21:58   15               Five, yes.
           16               Fraud - Sachin Dewan (Dewan).
           17               Do you find from a preponderance of the evidence
           18    that as a party to a contract(s), Dewan (or with Dewan's
           19    participation) or Dewan's agents committed any of following
           20    acts:   (a) the suggestion as a fact of something that is not
           21    true by one who does not believe it to be true; (b) the act
           22    of concealment of a fact by one having knowledge or belief of
           23    the fact; (c) a promise made without any intention of
           24    performing it; (d) any other act designed to deceive; or (e)
           25    any such act or omission the law specifically declares to be



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 89 of 116
                                                                                   5160




            1    fraudulent?
            2               One, yes.
            3               Two, yes.
            4               Three, yes.
15:22:44    5               Four, yes.
            6               Five, yes.
            7               Do you find from a preponderance of the evidence
            8    that the acts identified above were committed with intent to
            9    deceive another party or intent to convince another party to
15:22:56   10    enter into the contract?
           11               One, yes.
           12               Two, yes.
           13               Three, yes.
           14               Four, yes.
15:23:02   15               Five, yes.
           16               Do you find from a preponderance of the evidence
           17    that plaintiffs relied on the fraudulent representations made
           18    by Dewan or his agents?
           19               One, yes.
15:23:13   20               Two, yes.
           21               Three, yes.
           22               Four, yes.
           23               Five, yes.
           24               Do you find from a preponderance of the evidence
15:23:21   25    that plaintiffs were deceived by the fraudulent



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 90 of 116
                                                                                   5161




            1    representations made by Dewan or his agents?
            2               One, yes.
            3               Two, yes.
            4               Three, yes.
15:23:30    5               Four, yes.
            6               Five, yes.
            7               Do you find from a preponderance of the evidence
            8    that plaintiffs were damaged as a result of the fraudulent
            9    representations made by Dewan or his agents?
15:23:44   10               One, yes.
           11               Two, yes.
           12               Three, yes.
           13               Four, yes.    Five, yes.
           14               Fraud - Dewan Consultants Pvt., Ltd., a/k/a Medtech
15:23:58   15    Consultants (Dewan Consultants).
           16               Do you find from a preponderance of the evidence
           17    that as a party to a contract(s), Dewan Consultants (or with
           18    Dewan Consultant's participation) or Dewan Consultant's
           19    agents committed any of following acts:        (a) the suggestion
           20    as a fact of something that is not true by one who does not
           21    believe it to be true; (b) the act of concealment of a fact
           22    by one having knowledge or belief of the fact; (c) a promise
           23    made without any intention of performing it; (d) any other
           24    act designed to deceive; or (e) any such act or omission the
15:23:58   25    law specifically declares to be fraudulent?



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 91 of 116
                                                                                   5162




            1               One, yes.
            2               Two, yes.
            3               Three, yes.
            4               Four, yes.
15:24:43    5               Five, yes.
            6               Do you find from a preponderance of the evidence
            7    that the acts identified above were committed with intent to
            8    deceive any plaintiff or intent to convince any plaintiff to
            9    enter into the contracts?
15:24:57   10               One, yes.
           11               Two, yes.
           12               Three, yes.
           13               Four, yes.
           14               Five, yes.
15:25:02   15               Do you find from a preponderance of the evidence
           16    that plaintiffs relied on the fraudulent representations made
           17    by Dewan Consultants or its agents?
           18               One, yes.
           19               Two, yes.
15:25:16   20               Three, yes.
           21               Four, yes.
           22               Five, yes.
           23               Do you find from a preponderance of the evidence
           24    that plaintiffs were deceived by the fraudulent
15:25:25   25    representations made by Dewan Consultants or its agents?



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 92 of 116
                                                                                   5163




            1                 One, yes.
            2                 Two, yes.
            3                 Three, yes.
            4                 Four, yes.
15:25:33    5                 Five, yes.
            6                 Do you find from a preponderance of the evidence
            7    that plaintiffs were damaged as a result of the fraudulent
            8    representations made by Dewan Consultants or its agents?
            9                 One, yes.
15:25:46   10                 Two, yes.
           11                 Three, yes.
           12                 Four, yes.
           13                 Five, yes.
           14                 Claim Six:    All Plaintiffs Against Signal, Burnett
15:25:57   15    and Dewan.
           16                 Negligent Misrepresentation - Signal.
           17                 Do you find from a preponderance of the evidence
           18    that Signal or its agents committed any of the following
           19    acts:   (a) made an untrue assertion believing it to be true
15:26:13   20    in a manner not warranted by the information of the person
           21    making the assertion; (b) committed a breach of duty, which,
           22    without an intent to deceive, allowed the person to gain an
           23    advantage by misleading another person to his disadvantage;
           24    or (c) caused, however innocently, a party to an agreement to
15:26:36   25    make a mistake as to the substance of the thing which is the



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 93 of 116
                                                                                   5164




            1    subject of the agreement?
            2                 One, yes.
            3                 Two, yes.
            4                 Three, yes.
15:26:45    5                 Four, yes.
            6                 Five, yes.
            7                 Do you find from a preponderance of the evidence
            8    that plaintiffs were damaged as a result of the negligent
            9    misrepresentations made by Signal or its agents?
15:26:59   10                 One, yes.
           11                 Two, yes.
           12                 Three, yes.
           13                 Four, yes.
           14                 Five, yes.
15:27:03   15                 Negligent Misrepresentation - Malvern C. Burnett
           16    (Burnett).
           17                 Do you find from a preponderance of the evidence
           18    that Burnett or its agents committed any of the following
           19    acts:   (a) made an untrue assertion believing it to be true
           20    in a manner not warranted by the information of the person
           21    making the assertion; (b) committed a breach of duty, which,
           22    without an intent to deceive, allowed the person to gain an
           23    advantage by misleading another person to his disadvantage;
           24    or (c) caused, however innocently, a party to an agreement to
           25    make a mistake as to the substance of the thing which is the



                                           OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 94 of 116
                                                                                   5165




            1    subject of the agreement?
            2               One, yes.
            3               Two, yes.
            4               Three, yes.
15:27:53    5               Four, yes.
            6               Five, yes.
            7               Excuse me.
            8                                      (A pause in the proceedings.)
            9               THE CASE MANAGER:     I'm going to read Negligent
15:28:35   10    misrepresentation - Signal one more time.        I think I left out
           11    a part.
           12               On Page 55.
           13               Question 1:    Do you find from a preponderance of
           14    the evidence that Signal or its agents committed any of the
           15    following acts: (a) made an untrue assertion believing it to
           16    be true in a manner not warranted by the information of the
           17    person making the assertion; (b) committed a breach of duty,
           18    which, without an intent to deceive, allowed the person to
           19    gain an advantage by misleading another person to his
           20    disadvantage; or (c) caused, however innocently, a party to
           21    an agreement to make a mistake as to the substance of the
           22    thing which is the subject of the agreement?
           23               One, yes.
           24               Two, yes.
15:29:25   25               Three, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 95 of 116
                                                                                   5166




            1               Four, yes.
            2               Five, yes.
            3               I'm going to proceed now on Page 56 with
            4    Question 2.
15:29:38    5               Do you find from a preponderance of the evidence
            6    that plaintiffs were damaged as a result of the negligent
            7    misrepresentations made by Burnett or his agent?
            8               One, yes.
            9               Two, yes.
15:29:51   10               Three, yes.
           11               Four, yes.
           12               Five, yes.
           13               Negligent Misrepresentation - Law Offices of
           14    Malvern C. Burnett, APC (Burnett Law Offices).
           15               Do you find from a preponderance of the evidence
           16    that Burnett Law Offices or its agents committed any of the
           17    following acts:    (a) made an untrue assertion believing it to
           18    be true in a manner not warranted by the information of the
           19    person making the assertion; (b) committed a breach of duty,
           20    which, without an intent to deceive, allowed the person to
           21    gain an advantage by misleading another person to his
           22    disadvantage; or (c) caused, however innocently, a party to
           23    an agreement to make a mistake as to the substance of the
           24    thing which is the subject of the agreement?
15:30:43   25               One, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 96 of 116
                                                                                   5167




            1               Two, yes.
            2               Three, yes.
            3               Four, yes.
            4               Five, yes.
15:30:47    5               Do you find from a preponderance of the evidence
            6    that plaintiffs were damaged as a result of the negligent
            7    misrepresentations made by Burnett Law Offices or its agents?
            8               One, yes.
            9               Two, yes.
15:31:02   10               Three, yes.
           11               Four, yes.
           12               Five, yes.
           13               Negligent Misrepresentation - Sachin Dewan (Dewan).
           14               Do you find from a preponderance of the evidence
           15    that Dewan or its agents committed any of the following acts:
           16    (a) made an untrue assertion believing it to be true in a
           17    manner not warranted by the information of the person making
           18    the assertion; (b) committed a breach of duty, which, without
           19    an intent to deceive, allowed the person to gain an advantage
           20    by misleading another person to his disadvantage; or (c)
           21    caused, however innocently, a party to an agreement to make a
           22    mistake as to the substance of the thing which is the subject
           23    of the agreement?
           24               One, yes.
15:31:48   25               Two, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 97 of 116
                                                                                   5168




            1               Three, yes.
            2               Four, yes.
            3               Five, yes.
            4               Do you find from a preponderance of the evidence
15:31:55    5    that plaintiffs were damaged as a result of the negligent
            6    misrepresentations made by Dewan or his agents?
            7               One, yes.
            8               Two, yes.
            9               Three, yes.
15:32:06   10               Four, yes.
           11               Five, yes.
           12               Negligent Misrepresentation - Dewan Consultants,
           13    Pvt., Ltd., a/k/a/ Medtech Consultants (Dewan Consultants).
           14               Do you find from a preponderance of the evidence
           15    that Dewan Consultants or its agents committed any of the
           16    following acts:    (a) made an untrue assertion believing it to
           17    be true in a manner not warranted by the information of the
           18    person making the assertion; (b) committed a breach of duty,
           19    which, without an intent to deceive, allowed the person to
           20    gain an advantage by misleading another person to his
           21    disadvantage; or (c) caused, however innocently, a party to
           22    an agreement to make a mistake as to the substance of the
           23    thing which is the subject of the agreement?
           24               One, yes.
15:32:57   25               Two, yes.



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 98 of 116
                                                                                   5169




            1               Three, yes.
            2               Four, yes.
            3               Five, yes.
            4               Do you find from a preponderance of the evidence
15:33:05    5    that plaintiffs were damaged as a result of the negligent
            6    misrepresentations made by Dewan Consultants or its agents?
            7               One, yes.
            8               Two, yes.
            9               Three, yes.
15:33:16   10               Four, yes.
           11               Five, yes.
           12               Claim Seven.
           13               All Plaintiffs Against Signal, Burnett and Dewan.
           14               Breach of Contract Or Promissory Estoppel -Signal.
15:33:30   15               A.   Breach of Contract.
           16               Do you find from a preponderance of the evidence
           17    that one or more plaintiffs entered into a valid and binding
           18    contract, either orally or written, with agents of Signal?
           19               One, yes.
15:33:45   20               Two, yes.
           21               Three, yes.
           22               Four, yes.
           23               Five, yes.
           24               Do you find from a preponderance of the evidence
15:33:52   25    that agents of Signal breached a contract with any of the



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 99 of 116
                                                                                   5170




            1    plaintiffs?
            2                One, yes.
            3                Two, yes.
            4                Three, yes.
15:34:00    5                Four, yes.
            6                Five, yes.
            7                Do you find from a preponderance of the evidence
            8    that plaintiffs lost money as a result of the breached
            9    contract?
15:34:10   10                One, yes.
           11                Two, yes.
           12                Three, yes.
           13                Four, yes.
           14                Five, yes.
15:34:13   15                Promissory Estoppel.
           16                Do you find from a preponderance of the evidence
           17    that agents of Signal made promises to plaintiffs?
           18                No response is provided.
           19                2:   Do you find from a preponderance of the
15:34:31   20    evidence that plaintiffs made payments and incurred expenses
           21    in reliance on those promises?
           22                No response is provided.
           23                Do you find from a preponderance of the evidence
           24    that the promises on which plaintiffs relied were broken?
15:34:48   25                No response is provided.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 100 of 116
                                                                                    5171




            1                Do you find from a preponderance of the evidence
            2    that in good conscience and justice, the money paid by
            3    plaintiffs in relying on the promises should be returned to
            4    plaintiffs?
15:35:00    5                No response is provided.
            6                Breach of Contract Or Promissory Estoppel -
            7    Malvern C. Burnett (Burnett).
            8                Do you find from a preponderance of the evidence
            9    that one or more plaintiffs entered into a valid and binding
15:35:15   10    contract, either orally or written, with Burnett or his
           11    agents?
           12                One, yes.
           13                Two, yes.
           14                Three, yes.
15:35:22   15                Four, yes.
           16                Five, yes.
           17                Do you find from a preponderance of the evidence
           18    that Burnett or his agents breached a contract with any of
           19    the plaintiffs?
15:35:34   20                One, no.
           21                Two, no.
           22                Three, yes.
           23                Four, yes.
           24                Five, yes.
15:35:40   25                Do you find from a preponderance of the evidence



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 101 of 116
                                                                                    5172




            1    that plaintiffs lost money as a result of the breached
            2    contract?
            3                One, no.
            4                Two, no.
15:35:51    5                Three, yes.
            6                Four, yes.
            7                Five, yes.
            8                B.   Promissory Estoppel.
            9                Do you find from a preponderance of the evidence
15:36:02   10    that Burnett or his agents made promises to plaintiffs?
           11                One, yes.
           12                Two, yes.
           13                No response provided for three, four and five.
           14                Do you find from a preponderance of the evidence
15:36:16   15    that plaintiffs made payments and incurred expenses in
           16    reliance on those promises?
           17                One, yes.
           18                Two, yes.
           19                No response is provided for plaintiffs three, four
15:36:29   20    and five.
           21                Do you find from a preponderance of the evidence
           22    that the promises on which plaintiffs relied were broken?
           23                One, yes.
           24                Two, yes.
15:36:40   25                No response provided for plaintiffs three, four and



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 102 of 116
                                                                                    5173




            1    five.
            2                Do you find from a preponderance of the evidence
            3    that in good conscience and justice, the money paid by
            4    plaintiffs in relying on the promises should be returned to
15:36:53    5    plaintiffs?
            6                One, yes.
            7                Two, yes.
            8                No response provide for three, four and five.
            9                Breach of Contract Or Promissory Estoppel - Law
15:37:07   10    Offices of Malvern C. Burnett, APC (Burnett Law Offices).
           11                A.   Breach of Contract.
           12                Do you find from a preponderance of the evidence
           13    that one or more plaintiffs entered into a valid and binding
           14    contract, either orally or written, with Burnett Law Offices
15:37:22   15    or its agents?
           16                One, yes.
           17                Two, yes.
           18                Three, yes.
           19                Four, yes.
15:37:27   20                Five, yes.
           21                Do you find from a preponderance of the evidence
           22    that Burnett Law Offices or its agents breached a contract
           23    with any of the plaintiffs?
           24                One, no.
15:37:38   25                Two, no.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 103 of 116
                                                                                    5174




            1                Three, yes.
            2                Four, yes.
            3                Five, yes.
            4                Do you find from a preponderance of the evidence
15:37:47    5    that plaintiffs lost money as a result of the breached
            6    contract?
            7                One, no.
            8                Two, no.
            9                Three, yes.
15:37:56   10                Four, yes.
           11                Five, yes.
           12                B.   Promissory Estoppel.
           13                Do you find from a preponderance of the evidence
           14    that Burnett Law Offices or its agents made promises to
15:38:08   15    plaintiffs?
           16                One, yes.
           17                Two, yes.
           18                No response provided for plaintiffs three, four and
           19    five.
15:38:16   20                Do you find from a preponderance of the evidence
           21    that plaintiffs made payments and incurred expenses in
           22    reliance on those promises?
           23                One, yes.
           24                Two, yes.
15:38:28   25                No response provided for plaintiffs three, four,



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 104 of 116
                                                                                    5175




            1    and five.
            2                Do you find from a preponderance of the evidence
            3    that the promises on which plaintiffs relied were broken?
            4                One, yes.
15:38:40    5                Two, yes.
            6                No responses provided for plaintiffs three, four
            7    and five.
            8                Do you find from a preponderance of the evidence
            9    that in good conscience and justice, the many paid by
15:38:54   10    plaintiffs in relying on the promises should be returned to
           11    plaintiffs?
           12                One yes.
           13                Two, yes.
           14                No responses provided for plaintiffs three, four
15:39:04   15    and five.
           16                Breach of Contract Or Promissory Estoppel - Sachin
           17    Dewan (Dewan).
           18                A.   Breach of Contract.
           19                Do you find from a preponderance of the evidence
15:39:13   20    that one or more plaintiffs entered into valid and binding
           21    contract, either orally or written, with Dewan or his agents?
           22                One, yes.
           23                Two, yes.
           24                Three, yes.
15:39:24   25                Four, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 105 of 116
                                                                                    5176




            1                Five, yes.
            2                2:   Do you find from a preponderance of the
            3    evidence that Dewan or his agents breached a contract with
            4    any of the plaintiffs?
15:39:36    5                One, no.
            6                Two, no.
            7                Three, no.
            8                Four, no.
            9                Five, no.
15:39:42   10                Do you find from a preponderance of the evidence
           11    that plaintiffs lost money as a result of the breached
           12    contract?
           13                No response provided.
           14                B.   Promissory Estoppel.
15:39:56   15                Do you find from a preponderance of the evidence
           16    that Dewan or his agents made promises to plaintiffs?
           17                One, yes.
           18                Two, yes.
           19                Three, yes.
15:40:06   20                Four, yes.
           21                Five, yes.
           22                Do you find from a preponderance of the evidence
           23    that plaintiffs made payments and incurred expenses in
           24    reliance on those promises?
15:40:17   25                One, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 106 of 116
                                                                                    5177




            1                Two, yes.
            2                Three, yes.
            3                Four, yes.
            4                Five, yes.
15:40:23    5                Do you find from a preponderance of the evidence
            6    that the promises on which plaintiffs relied were broken?
            7                One, yes.
            8                Two, yes.
            9                Three, yes.
15:40:34   10                Four, yes.
           11                Five, yes.
           12                Do you find from a preponderance of the evidence
           13    that in good conscience and justice, the money paid by
           14    plaintiffs in relying on the promises should be returned to
15:40:47   15    plaintiffs?
           16                One, yes.
           17                Two, yes.
           18                Three, yes.
           19                Four, yes.
15:40:53   20                Five, yes.
           21                Breach of Contract Or Promissory Estoppel -
           22    Dewan Consultants, Pvt., Ltd., a/k/a Medtech Consultants
           23    (Dewan Consultants).
           24                A.   Breach of Contract.
15:41:08   25                Do you find from a preponderance of the evidence



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 107 of 116
                                                                                    5178




            1    that one or more plaintiffs entered into a valid and binding
            2    contract, either orally or written, with Dewan Consultants or
            3    its agents?
            4                One, yes.
15:41:21    5                Two, yes.
            6                Three, yes.
            7                Four, yes.
            8                Five, yes.
            9                Do you find from a preponderance of the evidence
15:41:29   10    that Dewan Consultants or its agents breached a contract with
           11    any of the plaintiffs?
           12                One, no.
           13                Two, no.
           14                Three, no.
15:41:38   15                Four, no.
           16                Five, no.
           17                Do you find from a preponderance of the evidence
           18    that plaintiffs lost money as a result of the breached
           19    contract?
15:41:48   20                No response provided.
           21                B.   Promissory Estoppel.
           22                Do you find from a preponderance of the evidence
           23    that Dewan Consultants or its agents made promises to
           24    plaintiffs?
15:42:01   25                One, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 108 of 116
                                                                                    5179




            1                Two, yes.
            2                Three, yes.
            3                Four, yes.
            4                Five, yes.
15:42:06    5                Do you find from a preponderance of the evidence
            6    that plaintiffs made payments and incurred expenses in
            7    reliance on those promises?
            8                One, yes.
            9                Two, yes.
15:42:18   10                Three, yes.
           11                Four, yes.
           12                Five, yes.
           13                Do you find from a preponderance of the evidence
           14    that the promises on which plaintiffs relied were broken?
15:42:30   15                One, yes.
           16                Two, yes.
           17                Three, yes.
           18                Four, yes.
           19                Five, yes.
15:42:34   20                Do you find from a preponderance of the evidence
           21    that in good conscience and justice, the money paid by
           22    plaintiffs in relying on the promises should be returned to
           23    the plaintiffs?
           24                One, yes.
15:42:48   25                Two, yes.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 109 of 116
                                                                                    5180




            1                Three, yes.
            2                Four, yes.
            3                Five, yes.
            4                Claim Eight:    Plaintiff Jacob Joseph
15:43:00    5    Kadakkarappally (Mr. Jacob) against Signal.
            6                False Imprisonment.
            7                Do you find from a preponderance of the evidence
            8    that on March 9, 2007, Signal or its hired guards held or
            9    detained Mr. Jacob?
15:43:13   10                Yes.
           11                Do you find from a preponderance of the evidence
           12    that Mr. Jacob's holding or detention was unlawful?
           13                Yes.
           14                Do you find from a preponderance of the evidence
15:43:24   15    that Mr. Jacob was damaged as a result of his unlawful
           16    holding or detention?
           17                Yes.
           18                Claim Nine:    Plaintiff Jacob Joseph
           19    Kadakkarappally (Mr. Jacob) against Signal.
15:43:40   20                Intentional Infliction of Emotional Distress.
           21                Do you find from a preponderance of the evidence
           22    that on March 9, 2007, Signal or its hired guards confined
           23    Mr. Jacob to a trailer under guard for several hours?
           24                Yes.
15:43:56   25                Do you find from a preponderance of the evidence



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 110 of 116
                                                                                    5181




            1    that the conduct of Signal or its hired guards was
            2    outrageous?
            3                Yes.
            4                Do you find from a preponderance of the evidence
15:44:06    5    that Signal or its hired guards intended to cause Mr. Jacob
            6    emotional distress or acted with reckless disregard of the
            7    probability that Mr. Jacob would suffer emotional distress?
            8                Yes.
            9                Do you find from a preponderance of the evidence
15:44:22   10    that Mr. Jacob suffered emotional distress?
           11                Yes.
           12                Do you find from a preponderance of the evidence
           13    that the conduct of Signal or its hired guards was a
           14    substantial factor in causing Mr. Jacob's emotional distress?
15:44:37   15                Yes.
           16                Do you find from a preponderance of the evidence
           17    that it was foreseeable that the conduct of Signal or its
           18    hired guards would cause Mr. Jacob emotional distress?
           19                Yes.
15:44:51   20                Cross-Claims:
           21                Cross-Claim One:    Signal against Burnett and Dewan.
           22                Indemnity - All Defendants.
           23                Do you find by a preponderance of the evidence that
           24    Signal owes a legal obligation to plaintiffs in the main
15:45:11   25    action?



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 111 of 116
                                                                                    5182




            1                Yes.
            2                Do you find by a preponderance of the evidence that
            3    Signal was not at fault in incurring the legal obligation to
            4    plaintiffs?
15:45:21    5                No.
            6                Indemnity - Malvern C. Burnett (Burnett).
            7                Do you find by a preponderance of the evidence
            8    that, in all fairness, Burnett should indemnify Signal for
            9    the legal obligation owed to plaintiffs?
15:45:36   10                No response provided.
           11                Indemnity - Law Offices of Malvern C. Burnett, APC
           12    (Burnett Law Offices).
           13                Do you find by a preponderance of the evidence
           14    that, in all fairness, Burnett Law Offices should indemnify
15:45:56   15    Signal for the legal obligation owed to plaintiffs?
           16                No response provided.
           17                Indemnity - Sachin Dewan (Dewan).
           18                Do you find by a preponderance of the evidence
           19    that, in all fairness, Dewan should indemnify Signal for the
15:46:13   20    legal obligation owed to plaintiffs?
           21                No response provided.
           22                Indemnity -Dewan Consultants, Pvt., Ltd., a/k/a
           23    Medtech Consultants (Dewan Consultants).
           24                Do you find by a preponderance of the evidence
15:46:29   25    that, in all fairness, Dewan Consultants should indemnify



                                         OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 112 of 116
                                                                                    5183




            1    Signal for the legal obligation owed to plaintiffs?
            2                No response provided.
            3                It is dated New Orleans Louisiana, this 12th day of
            4    February, 2015.
15:46:47    5                Signed by Trenease Knox, jury foreperson.
            6                Members of jury, is this your verdict?
            7                THE JURORS:    (Nod heads.)
            8                THE COURT:    Does any party wish to poll the jury?
            9                (No response.)
15:47:02   10                THE COURT:    All right.
           11                MS. HANGARTNER:      Yes, Your Honor, I would like to
           12    poll the jury, if you don't mind.
           13                THE COURT:    All right.
           14                Would you please poll the jury.
15:47:10   15                THE CASE MANAGER:     Ms. Knox, is this your verdict?
           16                THE FOREPERSON:      Yes, Your Honor.
           17                THE CASE MANAGER:     Ms. Roper, is this your verdict?
           18                THE JUROR:    Yes.
           19                THE CASE MANAGER:     Mr. Michael Toups, is this your
15:47:38   20    verdict?
           21                THE JUROR:    Yes.
           22                THE CASE MANAGER:     Ms. Epps, is this your verdict?
           23                THE JUROR:    Yes.
           24                THE CASE MANAGER:     Ms. Damico, is this your
15:47:44   25    verdict?



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 113 of 116
                                                                                    5184




            1                THE JUROR:    Yes.
            2                THE CASE MANAGER:     Mr. Harris, is this your
            3    verdict?
            4                THE JUROR:    Yes.
15:47:47    5                THE CASE MANAGER:     Ms. Robertson, is this your
            6    verdict?
            7                THE JUROR:    Yes.
            8                THE CASE MANAGER:     Ms. Autin, is this your verdict?
            9                THE JUROR:    Yes.
15:47:55   10                THE CASE MANAGER:     Mr. Tyler Toups, is this your
           11    verdict?
           12                THE JUROR:    Yes.
           13                THE COURT:    All right.   Ladies and gentlemen of the
           14    jury, as you know, the next step of this proceeding will be
15:48:07   15    for you-all to look at the jury verdict form for Stage 2, and
           16    I'll explain that further to you when I hadn't it out to you.
           17                It's almost 4:00 so we'll recess for the afternoon.
           18                The -- the jury verdict forms and jury instructions
           19    that you have already, please leave in the jury room.          Those
15:48:31   20    will be there for you in the morning.
           21                I want you to remember the instructions that I've
           22    given you throughout the trial.
           23                You are still not allowed to talk to anyone about
           24    the case, including members of your family, people involved
15:48:48   25    in the trial, or anyone else.



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 114 of 116
                                                                                     5185




            1                If anyone tries to talk to you about the case,
            2    please don't tell your fellow jurors.          Let me know about it
            3    immediately.
            4                We'll -- and remember, of course, that you are not
15:49:01    5    to communicate with anyone by any means, including cell
            6    phones, iPads, or any kind of Internet, about the case or to
            7    attempt to gain any information about the case.
            8                So we'll come back at 8:00 in the morning, and
            9    we'll have the jury verdict form for Stage 2 ready for you
15:49:19   10    and give you your instructions at that time.
           11                So I hope y'all have a good evening.
           12                                           (Jury out at 3:49 p.m.)
           13                THE COURT:    All right.   Have a seat.
           14                So what we will do is go prepare the jury verdict
15:50:04   15    form for Stage 2, and we'll send it to all of you because we
           16    want you to check to be sure that you agree with what we have
           17    prepared.
           18                The things I know that we'll do, we are going to
           19    move the RICO claim to the beginning.          I'm still going to
15:50:26   20    call it Claim Four and put a tab for Claim Four, but they're
           21    going to consider that first.
           22                And we're going to delete that paragraph about "if
           23    you have decided damages somewhere else."
           24                We'll have to figure out the negligent -- the
15:50:45   25    breach of contract and negligent misrepresentation, and



                                          OFFICIAL TRANSCRIPT
           Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 115 of 116
                                                                                    5186




            1    that's why I want you all to look at that one carefully to be
            2    sure we've done that correctly.
            3                 And then we'll look at -- to see if there's
            4    anything else we need to do.
15:50:58    5                 So if you all could look at it tonight, and please
            6    e-mail us tonight with any concerns you have.
            7                 And if you -- if you want to come in the morning a
            8    little bit 8:00, and discuss it with me, you're welcome to do
            9    that.    We'll be here.     Just let us know tonight if you --
15:51:19   10    and, you know, let everybody know that you want to talk about
           11    it.   And then maybe we'll all come in -- you can all come at
           12    7:45.    We can talk about it, fix anything if we need to, and
           13    be ready to go at 8:00.
           14                 So anything else we need to discuss?
15:51:34   15                 (No response.)
           16                 THE COURT:    I think it would be a good idea if the
           17    parties did not issue any statements to the press, talk to
           18    the press.    I would like to keep -- not have -- you know, I
           19    don't want anything to call attention to the jury at this
15:51:51   20    point.    So I would -- I would ask that you all observe that
           21    and not make any contact with the press or make statements to
           22    the press, and let's the jury come in tomorrow or whenever
           23    they finish their work.
           24                 Anything else?
15:52:09   25                 (No response.)



                                           OFFICIAL TRANSCRIPT
Case 2:08-cv-01220-SM-DEK Document 2362 Filed 03/24/15 Page 116 of 116
                                                                          5187




 1                THE COURT:    All right.   Thank you all.     See you
 2    tomorrow.
 3                                             (Proceedings adjourned.)
 4
 5                                 * * * *
 6                               CERTIFICATE
 7
 8          I hereby certify this 12th day of February, 2015, that
 9    the foregoing is, to the best of my ability and
10    understanding, a true and correct transcript of the
11    proceedings in the above-entitled matter.
12
13                                            /s/ Mary V. Thompson
                                         _______________________________
14                                            Official Court Reporter
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                               OFFICIAL TRANSCRIPT
